Case 5:23-cv-00364-GTS-MJK Document 7-8 _ Filed 04/25/23 Page 1 of 139

EXHIBITS 30.10 & 30.20

OCTOBER 13, 2022 & OCTOBER 27, 2022

AFFIDAVIT DEMAND FOR LAWFUL
AUTHORITY/JURISDICTION, NOTICE TO PRODUCE &
FEE SCHEDULE, NOTICE ALL CHARGES VOID

NOTICE OF DEFAULT

30.10 ADA JED HUDSON
30.20 ADA JED HUDSON
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 2 of 139

EXHIBIT 30.10
Case 5:23-cv-00364-GTS-MJK

Document 7-8

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USPS Tracking

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Latest Update

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Filed 04/25/23 Page 3 of 139

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 4 of 139

AFFIDAVIT OF TRUTH

DEMAND FOR LAWFUL AUTHORITY
AND JURISDICTION FOR YOUR ACTIONS

NOTICE: TO PRODUCE & FEE SCHEDULE

NOTICE: ALL CHARGES VOID

STATE OF NEW YORK )

COUNTY OF ONONDAGA _ )

Onondaga County District Attorney's Office
Attn: Jed Hudson

505 S. State St. 4th Floor

Syracuse, NY 13202

Dear Jed,

I, the undersigned, Richard-Louis: Sposato, a man, a Natural-Born, Free adult Citizen of the
Republic state of New York, thus of America (EXHIBIT 1), beneficiary, Trustor and Secured-party to
the Cestui que Trust RICHARD L SPOSATO, with this Affidavit of Truth and Rebuttal of
Presumption, "squarely challenge" your JURISDICTION and LAWFUL AUTHORITY with regard to

me and these unlawful charges supposedly pertaining to me.

CLAIMS OF FACT:

1. That, I, Richard-Louis: Sposato, swear to my best belief, that I have a right to travel in
my used automobile, not being used for commercial purposes.

2. That, I have sworn affidavits, along with Default notices in place with the County Sheriff,
NYS Troopers, Village of Solvay former Police Chief, as well as with the Onondaga
County District Attorney William Fitzpatrick, lawfully confirming I'm a lawful traveler,
without the need of a drivers license, inspection, nor insurance. (EXHIBIT 2)

3. That, due to me being a lawful traveler and not within the jurisdiction of any police

officer, nor me committing a crime, or suspected of a crime with probable cause, I've
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 5 of 139

been falsely arrested, and ALL the supposed traffic violations deemed VOID, ab initio,
by law, due to lack of standing and violation of my due process.

4. That, jurisdiction has been challenged, thus this case cannot move forward until the
prosecution (you) put on the record, proof of standing/jurisdiction, with regards to me.

5. That, with regards to Megan Cavaliere, the supposed Order of Protection, as well as the
supposed violations regarding Contempt of Court and/or violations related to the Order of
Protection, I also have unrebutted, sworn affidavits with Megan and Kara LaSorsa
(EXHIBIT 3), stating the incident didn't occur to the rise of obstruction, nor trespass, thus
these charges are once again all VOID, ab initio, for lack of standing/jurisdiction with
regards to me.

6. That, the state Plaintiff is a corporation, where the supposed Defendant is a man, thus this
case cannot proceed, as a corporation has no standing with a man.

7. That, this case must be dismissed, by law, due to lack of standing with regards to me.

8. That, any furtherance of this case by you, Jed Hudson, will be regarded as crimes you're
committing against me, including, but not limited to, malicious prosecution, Conspiracy,
Extortion, along with an assault against my Rights and/or due process.

9. That, this gives notice of my FEE SCHEDULE. (EXHIBIT 4)

It is Demanded of YOU, Jed Hudson, to produce the following:

1. Documentation of the delegation of lawful authority or judicial determination, that provides you, or
the State of New York, STATE OF NEW YORK and/or The People of the State of New York, a
corporation, with lawful authority with regards to me, a man, Common Law, natural-born free adult

Citizen, while conducting my peaceful, daily activities.

2. Documentation of the lawful authority a police officer has to stop, arrest, detain and assault me in
my lawful travels as a man, seize my private property and/or regulate or control my personal life,
liberty, and property, or to keep records on me and/or my lawful activities as a peaceful, harmless
Citizen, absent commission of a crime, or suspected of committing a crime, with probable cause.

3. Documentation of your Oath of Office, as required by law.

4. The applicable statute and code that imposes any obligation requiring me to perform.

5. The implementing regulation that would give such code force of law.
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6. Copies of any documentation of contract, agreement, or other lawful obligation on my part that

would authorize a police officer to seize myself, and/or my property. |

Should you claim contract/law jurisdiction, I do hereby demand to know what contract, including, but
not limited to, title, date, witness(es) thereto, and all parties thereto I have knowingly and willfully

entered into to provide any such alleged jurisdiction.

Failure for the above named to respond to this DEMAND, within (10) ten days receipt of this
Notice, having the opportunity to rebut the stated claims of fact herein, by acquiescence, will allow for

the above claims of facts to be, as stated.

I certify that the foregoing to the best of my ability is true, correct, complete and not misleading.

October 12, 2022
Respectfully yours,

(LO furSat

Richard-Louis: Sposato, Suis Juris
c/o 510 N. Orchard Rd.
Solvay, New York [13209]

B J 315-412-1776
Signed: Syl C

Printed » Cl ot C. 4 S Ne) GREGORY C VIRGINIA, oy
Date:_| >I a a NOTARY PUBLIC STATE OF NEW
My Commission Expires:_°3 } ] 9/123 LIC. #01V16162774

COMM. EXP. Mar. 19, 2023

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EXHIBIT 1
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 8 of 139

NOTICE - AFFIDAVIT of Status

To Service List Below, with Two Witnesses of Mailing and This:
I, Richard L. Sposato, do Lawfully Affirm as follows this date: 9 _//4 /2020

1. I,amaNATURAL-BORN, FREE adult Citizen* of the Republic State of New York by
birth, thus of America, and an inhabitant of the Republic State of New York; thankfully
endowed by our Creator with Inalienable Rights enumerated in America's founding
organic documents, which I have never with knowingly intelligent acts waived; and I
freely choose to obey all American Law and pay all Lawful taxes in jurisdictions
applicable to me for the. common good. I stand in Proper Person with Assistance, Special.
The foregoing, inchiding my STATUS and Unalienable Rights, are not negotiable. My
Status, in accord, is stated for all in 1:2:3, 2:1:5, 3:2:1, and 4:2:1 of the U.S. Constitution,
and PUBLIC LAW 94 — 583 — OCT. 21ST, 1976. 90 STAT 285

“§ 1604. Immunity of a foreign state from jurisdiction.

2. Recent diligent studies have convinced me of the above and that as such I am not "subject
to" the territorially-limited "exclusive Legislation" and its foreign jurisdiction mandated
for Washington, D.C., etc., in our U.S. Constitution's Article 1:8:17-18, including its
"internal" government organizations therein or by contract adhesioned thereto across
America. And neither are millions of other such Citizens, unless they have provided
"WAIVERS of Constitutional Rights" by "knowingly intelligent acts done with sufficient
awareness of the relevant circumstances and likely consequences"; as ruled by the 1970
Supreme Court (Brady v. U.S., 397 U.S. 742 at 748). [have given no such "waivers".

3. These studies also prove that a shrewd and criminal Constructive Fraud has been
perpetrated upon America by government under counterfeit "color of law", through
apparent entrapments of "certain ACTIVITIES (monopoly occupations) and
PRIVILEGES" (other benefits) allowed by Statutory Acts or otherwise. By never-
repealed American Law, such sources of past and present Criminal Element in (and
behind) Government should be brought to Justice in a Constitutional Court for aiding and
abetting this Fraud as willing Accomplices. It is for such Court with a 12-member Jury of
Peers to decide who is and is not Guilty among personnel of government, media, schools,
lawyers, accountants, clergy and.other purveyors of misinformation and propaganda in
this and related regards.

4, Due to such shrewd entrapments, over the years I have unwittingly signed many of the
related documents or contracts, some even under the "perjury" jurat as was supposedly
required. With American Law on this Citizen's side, | hereby REVOKE all such
signatures and render them null and void except for those that I choose to have measured
as being under "TDC" (threat, duress and/or coercion) and/or "without prejudice" (per
UCC 1-308), past and now. This is also my Lawful Notice that all such signatures of
mine in the future, with such governmental or otherwise-adhesioned sources, are to be
considered as under "TDC" and/or "without prejudice", whether appearing therewith or
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 9 of 139

otherwise, including banks, licenses, etc. So be it, respectfully demanding that. my
Constitutional "Privileges and Immunities" (Article 4:2) are apart from 1:8/17-18's
Washington, D.C., and shall not by Law be violated ever.

5. With this accurate knowledge, I Lawfully "squarely challenge" the fraudulent, usurping
octopus of JURISDICTION/AUTHORITY (cited in Item #2 above) which does not apply
to me (ref: Hagan v. Lavine [1974], 415 U.S. 528 at 533), with "the supreme Law of the
Land" (our Constitution's 6:2) again on this Citizen's side. It is therefore now mandatory
for any personnel of Article 1:8:17-18's so-called "IRS", for example, to first prove its
"jurisdiction" if any over me before any further procedures can take place in my regard
[Title 5, U.S. Code, 556(d)1; or else its personnel and accomplices willfully violating this
can and shall be personally charged as citizens under Title 18 U.S. Criminal Codes 241,
242, 1001 and /or otherwise.

6. With all of the above in mind, it appears that this private Citizen is by Law as "Foreign"
and "Non-Resident Alien" to the Article 1:8:17-18's Washington, D.C., as to another
country and thus shall feel free to use its forms when and as useful .

FURTHER THE AFFIANT SAITH NOT , {3 :
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on this Date of <7 //4 /2é 22 f ential ihe = parte / Sui Juris

PWO WITNESSES OF MY SIGNATURE:

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On this t day of S {i 20 oo , before me, the undersigned, a Notary Public in
and for. New York (state), personally appeared the above-signed, living soul, known to me to be
the one whose name is signed on this instrument, and has acknowledged to me that he has

executed the same.

Signed: ak WA ~& 4 An, -

Printed Name:
Date:
My Commission Expires:

AMY B. HIRSH
NOTARY PUBLIC, STATE OF NEW YORK
Qualified in Onondaga County
Wo. 01416003191
Commission Expires Feb. 23, 20.

Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 10 of 139 ©

ce:
_ 1. Governor Andrew Cuomo, NYS State Capitol Building, Albany NY 12224

2. Secretary of State Rossana Rosado, Oné Commerce Plaza, 99 Washington Ave.
Albany, NY 12231

3. State Comptroller Thomas P. DiNapoli, 110 State Street, Albany, NY 12236
4, State Senator, Dist. 53 Rachel May, 333 E. Washington St, Suite 805, Syracuse, NY 13202
5. State Assembly, Dist 127 Al Stirpe, 7293 Buckley Rd. Suite 201, N. Syracuse, NY 13212

6. State. Assembly, Dist. 128 Pamela J. Hunter, 711 E. Genesee St. 2nd Floor, Syracuse, NY
13210

7. State Assembly, Dist. 129 William B. Magnarelli, 333 E. Washington St. Room 840
Syracuse, NY 13202

8. NYS Attorney General, Letitia James, The Capitol, Albany, NY 12224-0341
9. NYS Income Tax Director, Andrew D. Morris, Harriman Campus Rd., Albany, NY 12226
10. NYS Dept. of Economic Development, Howard Zemsky, 625 Broadway, Albany, NY 12245

11. NYS Health Commissioner, Dr. Howard A. Zucker, Corning Tower, Empire State Plaza
Albany, NY 12237

12. NYS Police Superintendent, Keith Corlett, 1220 Washington Ave. Bldg. 22
Albany, NY 12226-2252

13. NYS Commissioner of Motor Vehicles, Mark J.F. Schroeder
13. Onondaga County Sheriff, Eugene Conway, 407 S. State St. Syracuse, NY 13202

14. Onondaga County Executive, Ryan McMahon, John H. Mulroy Civic Center, 14th Floor
Syracuse, NY 13202

15. Onondaga County Board Of Elections, Commissioners Dustin M Czarny & Michele L Sardo,
1000 Erie Blvd. West, Syracuse, NY 13204

16. Onondaga District Attorney, William Fitzpatrick, 505 S. State St., Syracuse, NY 13202
17. Mayor, Ben Walsh, 203 City Hall, 233 E. Washington St., Syracuse, NY 13202-1473

18. Police Chief, Kenton T. Buckner, 511 S. State St., Syracuse, NY 13202
Case 9:23-Cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 + Page 11 of 139

19, Department of Law City of Syracuse, Kristen E. Smith, 233 E. Washington St., 300 City Hall,
Syracuse, NY 13202

20. U.S. President Donald J. Trump, White House, 1600 Penna. Ave., Washington, D.C. 20500
21. U.S. Vice President Mike Pence, White House, 1600 Penna. Ave., Washington, D.C. 20500
22, U.S. Senator, Vacant, U.S. Senate, Washington, D.C. 20510
23. U.S, Congressman, John Katko 24th Dist., US. Hse. of Represntve., Washington, D.C. 20515

24. U.S. Attorney General, William Barr, U.S. Trustee of the Public Trust,1 0th Street and
Constitution Avenue, Washington, D.C. 20530. ,

25. U.S. Sec'y of Treasury, Steve Munchin, 1500 Penna. Ave., N.W., Washington, D.C. 20543
26. U.S. Supreme Court Chief Justice, John G. Roberts, 1 First St., N-E., Washington, D.C. 20543

27. U.S, FBI Dir., Christopher A. Wray, J. E. Hoover Bldg., 9th & Penn. Ave. N.W., Wash., D.C.
20535

28. U.S. Sec'y of Commerce., Wilbur Ross, 14th St. at Const. Ave. & E St. N.W., Wash. D.C. 20203
29. U.S. Social Security Director, Andew Saul's, P. O. Box 57, Baltimore, Maryland 21293
30. U.S. IRS Commissioner, Charles Rettig, 1111 Constitution Ave. N.W., Washington, D.C. 20224

31. U.S. Tax Court Chief Chancellor, Maurice B. Foley, 400 2nd St. N.W., Washington, D.C. 20217
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EXHIBIT 2
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AFFIDAVIT OF TRUTH
DEMAND FOR LAWFUL AUTHORITY AND JURISDICTION

NOTICE OF LAWFUL TRAVELER

STATE OF NEW YORK)
COUNTY OF ONONDAGA +)

NYS Police Superintendent Kevin P. Bruen,

I, Me, My, or Myself, also known as Richard L. Sposato, a sovereign, living soul, a man living upon
the land, a judicial power Citizen by right of blood, without the corporation called STATE OF NEW
YORK, with this Affidavit of Truth, do hereby Demand Lawful Authority and Jurisdiction concerning
all police officers employed within the jurisdiction of New York State and/or all NYS Police
Troopers, as it applies to me traveling on the passageways, roads and/or highways of New York State,
the State of New York or any other commonly referred to name of this state or STATE, in my
automobile and provide Notice of Lawful Traveler, by Declaration, as follows;

The undersigned, Richard L. Sposato, a man, with this Affidavit of Truth and Rebuttal of
Presumption, I "squarely challenge" the JURISDICTION AND LAWFUL AUTHORITY of any NYS
Police Trooper, to stop, detain and arrest People, individuals, men, women, persons, Me or Myself
traveling upon public passageways, roads and/or highways, for sitting behind the wheel, steering,
while moving or not, in, or using an owned, or rental version of a passenger, personal or limited use
automobile, while holding, using and/or being licensed with a NYS class D drivers license in their
name, or not holding, being unlicensed and/or without said, NYS class D drivers license, under the

guise of said People, individuals or persons "operating" a "motor vehicle".

1s Richard L. Sposato, swear to my best belief, that the State of New York or STATE OF
NEW YORK, or what is referred to be New York State, is a territory, possession and/or a
corporation of the United States or UNITED STATES, falling under the jurisdiction of
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the Federal government and/or the DISTRICT OF COLUMBIA, found and declared in.
Section 516 of the NY Vehicle and Traffic Law.

2. The Federal definition of. a Motor Vehicle, which the State of New York and/or the
STATE OF NEW YORK falls within the jurisdiction thereof, as stated in 18 USC
Chapter 2 Sec 31 Sub Section 6, reads as follows: MOTOR VEHICLE-the term “motor
vehicle" means every description of carriage or other contrivance propelled or drawn by
mechanical power and.used for "commercial" purposes on the highways in the
transportation of passengers, passengers and property, or property or cargo.

3. The definition of a "motor vehicle" is clearly defined as being used for commercial
purposes. Everyday automobiles being used for personal use, going to and from work or
to the grocery store, or out for a night on the town are NOT being used over the public
passageways and/or highways in a commercial capacity, i.c. for monetary gain. These
said automobiles are being used as a contrivance, for everyday, non commercial travel on
stated ways.

4, NYS VEHICLE AND TRAFFIC LAW - VAT 501 Drivers licenses and learners permits
states... The commissioner shall issue classified drivers licenses.as provided in this article.
Any such license shall be valid only for the operation of the.type of vehicles specified for
each class of license but shall not be valid for the operation of any type of vehicle for
which an endorsement is required by this section or regulations promulgated hereunder
unless the license contains such endorsement and shall be subject to any restrictions
contained thereon.

5. Drivers license classifications, endorsements and restrictions and exceptions. License
classifications are as follows,

6. (i) Class A. Such license shall be valid to operate any "motor véliicle" or any combination
of vehicles except it shall not be valid to operate a motorcycle other than a class B or C
limited use motorcycle.

7. (ii) Class B. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor
vehicle" or any such vehicle, other than a tractor, towing a vehicle having a GVWR of
not more than ten thousand pounds except it shall not be valid to operate a motorcycle
other than a class B or C limited use motorcycle.

8. (ii) Class C. Such license shall be valid to operate any vehicle or combination. of vehicles
which may be operated with a.class E licensé and shall be valid to operate any "motor
vehicle" with a GVWR of not more than twenty-six thousand pounds and any such

vehicle towing another vehicle with a GVWR of not more than ten thousand pounds
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except it shall not be valid to operate a tractor or a motorcycle other than a class B or C
limited use motorcycle.

9. (iv) Class D. Such license shall be valid to operate any "passenger" or "limited use"
"automobile" or any truck with a GVWR of not more than twenty-six thousand pounds or
any such vehicle towing a vehicle with a GVWR of not more than ten thousand pounds,
or any such vehicle towing another vehicle with a GVWR of more than ten thousand
pounds provided such combination of vehicles has a GCWR of not more than twenty-six
thousand pounds, or any personal use vehicle with a GVWR of not more than twenty-six
thousand pounds or any such vehicle towing a vehicle with a GVWR of not more than ten
thousand pounds, except it shall not be valid to operate a tractor, a motorcycle other than.
a class B or C limited use motorcycle, a vehicle used to transport passengers for hire or
for which a hazardous materials endorsement is required, or a vehicle defined as a bus in
subdivision one of section five hundred nine-a of this title.

10. (v) Class E. Such license shall be valid to operate only vehicles which may be operated
with a class D license, except that in addition it shall be valid to operate any such motor
vehicle, other than a vehicle defined as a bus in subdivision one of section five hundred
nine-a of this chapter, used to transport up to fourteen passengers for hire and other than
an altered motor vehicle commonly referred to as a "stretch limousine" having a seating
capacity of nine or more passengers including the driver.

11. As noted above, a class A, B, C or E license, each stipulate in their wording to include
authorization of operating a "motor vehicle”, which defines or leads.to the presumption
that these classes of licenses pertain to the use ofa vehicle for "commercial" purposes, as
defined in 18 USC Chapter 2 Sec 31 Sub Section 6 Federal code.

12. On the contrary, a class D license, makes no mention of the words and/or term "motor
vehicle", only referencing the operation in some form or another of an “automobile”. This
gives way to the presumption an individual possessing this class of license is NOT
allowed, authorized, nor permitted to use their contrivance or automobile for "hire"
and/or "commercial" purposes.

13. The vast majority of individuals are classed with a D license, because they do not use
their automobile for commercial purposes in their everyday progression of life, liberty, in
their pursuit of happiness.

14. Having stated all of the above, one must conclude the "automobile" you're sitting in
behind the wheel, steering along the passageways during your normal everyday travels,

not being used for commercial purposes, is NOT to be considered a "motor vehicle", as
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 26 of 139

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defined in Federal code, with the State of New York being under and/or within the

jurisdiction thereof.

To finalize the clarity of the everyday automobile people ride in behind the wheel, not to
be defined as a "motor vehicle", I posed the question online to the New York State DMV
on July 3, 2020, asking, "Is an individual with a class D license permitted to operate a
"motor vehicle". The DMV response on July 27, 2020 was, "Yes. As long as they are
companied by a licensed-driver." Exhibit A

Because people possessing a class D license are not required to be companied by a
licensed driver, to travel in their everyday automobile, this further confirms the above
conclusion, that the automobile people are traveling in the course of their everyday life,
not being used for commercial purposes, is in fact and definitively, NOT a "motor
vehicle" as outlined and/or used in NYS VAT LAW TITLE VII Rules of the Road.
Therefore, because an individual or person possessing a class D license, not using their
automobile for commercial purposes, is not operating a "motor vehicle" as outlined in
NYS VAT LAW Rules of the Road, a police officer cannot lawfully stop/arrest you while
traveling in your automobile under the-presumption of operating a "motor vehicle",
without witness to the appearance of a crime being or had been committed, nor lawfully
charge you with a violation of the NYS VAT LAW Rules of the Road for said offenses
referencing the operation of a "motor vehicle", nor can one be summonsed into court for
said unlawful charges, nor convicted for violating a statute referencing the operation of a
"motor vehicle" as outlined in the aforementioned NYS VAT codes, as anything that
transpires after an unlawful stop/arrest is not just VOID, but necessarily VOID, ab initio.
Furthermore, Federal Department of Transportation, Title 49 CFR Subsection 390.5
states Definition of Driver: any person who operates any commercial motor vehicle.
Thus, if a person or individual is not operating a commercial motor vehicle, which all
"motor vehicle(s)” are used for commercial purposes, as referenced above, that person.
and/or individual is not considered a "driver" and as such, is not required to obtain a
"drivers license" while exercising their Right to Travel lawfully upon the public
passageways, roads and/or highways. -

This means any arrest and citation given to the aforementioned individual and/or person
possessing a class D license, or person not being licensed at all, referencing the operation
ofa "motor vehicle" when they are in fact riding along the passageways during their
everyday travels in their "automobile", is unlawful, deprivation of rights under the color

of law as stated in 18 U.S. Code subsection 242, thus any prosecution malicious and any,
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 27 of 139

conviction for NYS VAT LAW violations pertaining to the operation of a "motor

vehicle" null and necessarily void ab initio, like they never even happened.

Having concluded not tobe operating a "motor vehicle", nor being a "driver" in. need ofa
drivers license, I put you and your entire department of NYS Police Troopers on Notice that having a
"drivers license” is NOT needed to travel upon the public highways, in which case, I will be
exercising my right to lawfully travel without a NYS Drivers license in my personal property, an
automobile, that I rightfully own via acquisition, with such automobile described by the IRS in Title
49 U.S. code Subsection 13102 (11) as Household Goods, thus not needing title, nor registration.

Failure to respond, within (30) thirty days receipt of this Affidavit/Notice, having the opportunity to

rebut the stated claims herein, by acquiescence, will allow for the facts to be as stated above.

I certify that the foregoing to the best of my ability is true, correct, complete and not misleading.

April 7, 2021
Respectfully yours,

LLU PS,2t-

Richard L. Sposato, Suis Juris
With a postal address of;
Non-Domestic Mail

C/O S10 N, Orchard Rd.

Solvay, New York
ZIP CODE EXEMPT
Signed: Daud f. Pra geccusce
Printed Name: PAV tO oF. "DRAGIcE VEE H
Date: OY /o7/ doa) DAVID J DRAGICEVICH
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My Commission Expires:__./O Jag / aod. 4 OSWEGO COUNT BW YORK

LIC, #01DR6410495
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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 28 of 139

Exhibit A
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 29 of 139

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Need latte [os

Thank you for using the DMY's Aska Question service. Here is.a summary of your
question and our response. if you feel we. did not answer your question to-your

satisfaction or you:need more information, please respond to-us using the “Update
- your question" link below.

- Subject

Is.an individual with a class D license permitted to:operate:a motor vehicle..?

. [Thank you for contacting New York State Department of Motor Vehicle.
. [Yes..As long as they are companied by a licensed driver.

: Please let us know if you need any additional information.
. Thank-you for your enquiry and we look forward to assisting you in the future.

-*
- New York State DMV

i Is. an individual with a a class D license permitted to operate a motor vehicle.2 __

: Update your submission -

Case 5:23-cv-00364-GTS-MJK Document 7-8

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Grand Total: $96. 00

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AFFIDAVIT OF TRUTH
DEMAND FOR LAWFUL AUTHORITY AND JURISDICTION

NOTICE OF LAWFUL TRAVELER

STATE OF NEW YORK)
COUNTY OF ONONDAGA )

NYS Police Deputy Superintendent Colonel Steven A. Negrilli,

I, Me, My, or Myself, also known as Richard L. Sposato, a sovereign, living soul, a man living upon
the land, a judicial power Citizen by right of blood, without the corporation called STATE OF NEW
YORK, with this Affidavit of Truth, do hereby Demand Lawful Authority and Jurisdiction concerning
all police officers employed within the jurisdiction of New York State and/or all NYS Police
Troopers, as it applies to me traveling on the passageways, roads and/or highways of New York State,
the State of New York or any other commonly referred to name of this state or STATE, in my

automobile and provide Notice of Lawful Traveler, by Declaration, as follows;

The undersigned, Richard L. Sposato, a man, with this Affidavit of Truth and Rebuttal of
Presumption, I "squarely challenge" the JURISDICTION AND LAWFUL AUTHORITY of any NYS
Police Trooper, to stop, detain and arrest People, individuals, men, women, persons, Me or Myself
traveling upon public passageways, roads and/or highways, for sitting behind the wheel, steering,
while moving or not, in, or using an owned, or rental version of a passenger, personal or limited use
automobile, while holding, using and/or being licensed with a NYS class D drivers license in their
name, or not holding, being unlicensed and/or without said, NYS class D drivers license, under the

guise of said People, individuals or persons "operating" a "motor vehicle”.

1. L, Richard L. Sposato, swear to my best belief, that the State of New York or STATE OF
NEW YORK, or what is referred to be New York State, is a territory, possession and/or a
corporation of the United States or UNITED STATES, falling under the jurisdiction of
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 32 of 139

the Federal government and/or the DISTRICT OF COLUMBIA, found and declared in
Section 516 of the NY Vehicle and Traffic Law.

2. The Federal definition of a Motor Vehicle, which the State of New York and/or-the
STATE OF NEW YORK falls within the jurisdiction thereof, as stated in 18 USC
Chapter 2 Sec 31 Sub Section 6, reads as follows: MOTOR VEHICLE-the term "motor
vehicle" means every description of carriage or other contrivance propelled or drawn by
mechanical power and used for "commercial" purposes on the highways in the
transportation of passengers, passengers and property, or property or cargo.

3. The definition of a "motor vehicle" is clearly defined as being used for commercial
purposes. Everyday automobiles being used for personal use, going to and from work or
to the grocery store, or out for a night on the town are NOT being used over the public
passageways and/or highways in a commercial capacity, i.e. for monetary gain. These
said automobiles are being used as a contrivance, for everyday, non commercial travel on
stated ways.

4. NYS VEHICLE AND TRAFFIC LAW - VAT 501 Drivers licenses and learners permits
states... The commissioner shall issue classified drivers licenses as provided in this article.
Any such license shall be valid only for the operation of the type of vehicles specified. for
each class of license but shall not be valid for the operation of any type of vehicle for
which an endorsement is required by this section or regulations promulgated hereunder
unless the license contains such endorsement and shall be subject to any restrictions
contained thereon.

5. Drivers license classifications, endorsements and restrictions and exceptions. License
classifications are as follows.

6. (i) Class A. Such license shall be valid to operate any "motor vehicle" or any combination
of vehicles except it shall not be valid to operate a motorcycle other than a class B or C
limited use motorcycle.

7. (ii) Class B. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor
vehicle" or any such vehicle, other than a tractor, towing a vehicle having a GVWR of
not more than ten thousand pounds except it shall not be valid to operate a motorcycle
other than a class B or C limited use motorcycle.

8. (iii) Class C. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor
vehicle" with a GVWR of not more than twenty-six thousand pounds and any such

vehicle towing another vehicle with a GVWR of not more than ten thousand pounds
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 33 of 139

except it shall not be valid to operate a tractor or a motorcycle other than a class B or C
limited use motorcycle.

9. (iv) Class D. Such license shall be valid to operate any "passenger" or "limited use"
"automobile" or any truck with a GVWR of not more than twenty-six thousand pounds or
any such vehicle towing a vehicle with a GVWR of not more than ten thousand pounds,
or any such vehicle towing another vehicle with a GVWR of more than ten thousand
pounds provided such combination of vehicles has a GCWR of not more than twenty-six
thousand pounds, or any personal use vehicle with a GVWR of not more than twenty-six
thousand pounds or any such vehicle towing a vehicle with a GVWR of not more than ten
thousand pounds, except it shall not be valid to operate a tractor, a motorcycle other than
a class B or C limited use motorcycle, a vehicle used to transport passengers for hire or
for which a hazardous materials endorsement is required, or a vehicle defined as a bus in
subdivision one of section five hundred nine-a of this title.

10. (v) Class E. Such license shall be valid to operate only vehicles which may be operated
with a class D license, except that in addition it shall be valid to operate any such motor
vehicle, other than a vehicle defined as a bus in subdivision one of section five hundred
nine-a of this chapter, used to transport up to fourteen passengers for hire and other than
an altered motor vehicle commonly referred to as a "stretch limousine" having a seating
capacity of nine or more passengers including the driver.

11. As noted above, a class A, B, C or E license, each stipulate in their wording to include
authorization of operating a "motor vehicle", which defines or leads to the presumption
that these classes Of licenses pertain to the use of a vehicle for "commercial" purposes, as
defined in 18 USC Chapter 2 Sec 31 Sub Section 6 Federal cade.

12. On the contrary, a class D license, makes no mention of the words and/or term "motor
vehicle", only referencing the operation in some form or another of an "automobile". This
gives way to the presumption an individual possessing this class of license is NOT
allowed, authorized, nor permitted to use their contrivance or automobile for "hire"
and/or "commercial" purposes.

13. The vast majority of individuals are classed with a D license, because they do not use
their automobile for commercial purposes in their everyday progression of life, liberty, in
their pursuit of happiness.

14. Having stated all of the above, one must conclude the "automobile" you're sitting in
behind the wheel, steering along the passageways during your normal everyday travels,

not being used for commercial purposes, is NOT to be considered a "motor vehicle", as
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 34 of 139

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defined in Federal-code, with the State of New York being under and/or within the

jurisdiction thereof.

To finalize the clarity of the everyday automobile people ride in behind the wheel, not to
be defined as a "motor vehicle", I posed the question online to the New York State DMV
on July 3, 2020, asking, “Is an individual with a class D license permitted to operate a
"motor vehicle”. The DMV response on July 27, 2020 was, "Yes. As long as they are
companied by a licensed driver." Exhibit A

Because people possessing a class D license are not required to be companied by a
licensed driver, to travel in their everyday automobile, this further confirms the above
conclusion, that the automobile people are traveling in the course of their everyday life,
not being used for commercial purposes, is in fact and definitively, NOT a "motor
vehicle" as outlined and/or used in NYS VAT LAW TITLE VII Rules of the Road.
Therefore, because an individual or person possessing a class D license, not using their
automobile for commercial purposes, is not operating a "motor vehicle" as outlined in
NYS VAT LAW Rules of the Road, a police officer cannot lawfully stop/arrest you while
traveling in your automobile under the presumption of operating a “motor vehicle",
without witness to the appearance of a-crime being or had. been conunitted, nor lawfully
chargé you with a violation of the NYS VAT LAW Ruies of the Road for said offenses
referencing the operation of a "motor vehicle", nor can one be summonsed into court for
said unlawful charges, nor convicted for violating a statute referencing the operation of a
"motor vehicle” as outlined in the aforementioned. NYS VAT codes, as anything that
transpires after an unlawful stop/arrest is not just VOID, but necessarily VOID, ab initio.
Furthermore, Federal Department of Transportation, Title 49 CFR Subsection 390.5
states Definition of Driver: any person who operates any commercial motor vehicle.
Thus, if a person or individual is not operating a commercial motor vehicle, which all
"motor vehicle(s)" are used for commercial purposes, as referenced above, that person
and/or individual is not considered a "driver" and as such, is not required to obtain a
"drivers license” while exercising their Right to Travel lawfully upon the public
passageways, roads and/or highways.

This means any arrest and citation given to the aforementioned individual and/or person.
possessing a class D license, or person not being licensed at all, referencing the operation
of a "motor vehicle" when they are in fact riding along the passageways during their
everyday travels in their "automobile", is unlawful, deprivation of rights under the color

of law as stated in 18 U.S. Code subsection 242, thus any prosecution malicious and any
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conviction for NYS VAT LAW violations pertaining to the operation of a "motor

vehicle" null and necessarily void ab initio, like they never even happened.

Having concluded not to be operating a "motor vehicle", nor being a "driver" in need ofa
drivers license, I put you and your entire department of NYS Police Troopers on Notice that having a
"drivers license" is NOT needed to travel upon the public highways, in which case, I will be
exercising my right to lawfully travel without a NYS Drivers license in my personal property, an
automobile, that I rightfully own via acquisition, with such automobile described by the IRS in Title
49 U.S. code Subsection 13102 (11) as Household Goods, thus not needing title, nor registration.

Failure to respond, within (30) thirty days receipt of this Affidavit/Notice, having the opportunity to

rebut the stated claims herein, by acquiescence, will allow for the facts to be as stated above.

I certify that the foregoing to the best of my ability is true, correct, complete and not misleading..

April 7, 2021
Respectfully yours,

[Lok Sect

Richard L. Sposato, Suis Juris
With a postal address of}
Non-Domestic Mail

C/O 510 N. Orchard Rd.
Solvay, New York

ZIP CODE EXEMPT
Signed:
Printed Name: . AG LLZEvicH , DAVID J DRAGICEVICH
NOTARY PUBLIC STATE OF NEW YORK
Date 0Y (07/2681 _ OSWEGO COUNTY
_ LIC. 401DR6410495
My Commission Expires:_)0/9@ /20a4. COMM, EXP. 10/26/2024
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 36 of 139

Exhibit A
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 37 of 139

_ Thank you for using the DMV's Ask a Question service. Here is a summary of your
' question and our response. If you feel we did not answer your question to your

: satisfaction or you need more information, please respond to us using the “Update
- your question" link below.

- Subject

Is an individual with a class D license permitted to operate a motor vehicie..?

Thank you for contacting New York State Department of Motor Vehicle.
. Yes. As long as they are companied by a licensed driver.

’ Please let us know if you need any additional information. .
’ Thanie you for your enquiry and we look forward to assisting you in. the future.

| Max A.
| New York State DMV

Ee & ray

: [Is an individual with a class D license permitted to operate a motor vehic

le..?

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. Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 38 of 139
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Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

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Price Change 1/26/2020:
USPS Premium Tracking: USPS will offer a fee-based service to extend the availability of tracking data on domestic. competitive products
for an additional 6 months up to 10 years. In addition, customers can also request a Premium Tracking Statement via email. *

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 40 of 139

AFFIDAVIT OF TROTH
DEMAND FOR LAWFUL AUTHORITY AND JURISDICTION

NOTICE OF LAWFUL TRAVELER

STATE OF NEW YORK)
COUNTY OF ONONDAGA sy

NYSSA President Jeffrey Murphy,

I, Me, My, or Myself, also.known as Richard L. Sposato, a sovereign, living soul, a man living upon.
the land, a judicial power Citizen by right of blood, without the corporation called STATE OF NEW
YORK, with this Affidavit of Truth, do hereby Demand Lawful Authority and, Jurisdiction concerning
all police officers employed within the jurisdiction of New York State and/or all Deputies of the New
York State Sheriff's Association, as it applies to me traveling on the passageways, roads and/or
highways of New York State, the State of New York or any other commonly referred to name of this
state or STATE, in my automobile and provide Notice of Lawful Traveler, by Declaration, as follows;

The undersigned, Richard L. Sposato, a man, with this Affidavit of Truth and Rebuttal of
Presumption, I "squarely challenge" the JURISDICTION AND LAWFUL AUTHORITY of any
Onondaga County employed Police, Sheriff and/or Deputy of the Onondaga County Sheriff's Office,
or any other County Sheriff employed. and/or operating within the jurisdiction of New York State, to
stop, detain and arrest People, individuals, men, women, persons, Me or Myself traveling upon public
passageways, roads and/or highways, for sitting behind the wheel, steering, while moving or not, in, or
using an owned, or rental version. of a passenger, personal or limited use automobile, while holding,
using and/or being licensed with a NYS class D drivers license in their name, or not holding, being
unlicensed and/or without said, NYS class D drivers license, under the guise of said People,

individuals or persons "operating" a “motor vehicle’.

1. I, Richard L. Sposato, swear to my best belief, that the State of New York or STATE OF
NEW YORK, is a territory, possession and/or a corporation of the United States or
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 41 of 139

UNITED STATES, falling under the jurisdiction of the Federal government and/or the
DISTRICT OF COLUMBIA, found and declared in Section 516 of the NY Vehicle and
Traffic Law.

2. The Federal definition of a Motor Vehicle, which the State of New York and/or the
STATE OF NEW YORK falls within the jurisdiction thereof, as stated in 18 USC
Chapter 2 Sec 31 Sub Section 6, reads as follows: MOTOR VEHICLE-the term "motor
vehicle" means every description of carriage or other contrivance propelled or drawn by
mechanical power and used for "commercial" purposes on the highways in the
transportation of passengers, passengers and property, or property or cargo.

3. The definition of a "motor vehicle" is clearly defined as being used for commercial
purposes. Everyday automobiles being used for personal use, going to and from work or
to the grocery store, or out for a night on the town are NOT being used over the public
passageways and/or highways in a commercial capacity, i.e. for monetary gain. These
said automobiles are being used as a contrivance, for everyday, non commercial travel on
stated ways.

4. NYS VEHICLE AND TRAFFIC LAW - VAT 501 Drivers licenses and learners permits
states... The commissioner shall issue classified drivers licenses as provided in this article.
Any such license shall be valid only for the operation of the-type of vehicles specified for
each class of license but shall not be valid for the operation of any type of vehicle for
which an endorsement is required by this section or regulations promulgated hereunder
unless the license contains such endorsement and shall be subject to any restrictions
contained thereon.

5. Drivers license classifications, endorsements and restrictions and exceptions. License
classifications are as follows.

6. (i) Class A. Such license shall be valid to operate any "motor vehicle" or any combination
of vehicles except it shall not be valid to operate a motorcycle other than a class B or C
limited use motorcycle.

7. (ii) Class B. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor
vehicle" or any such vehicle, other than a tractor, towing a vehicle having a GVWR of
not more than ten thousand pounds except it shall not be valid to operate a motorcycle
other than a class B or C limited use motorcycle.

8. (iii) Class C. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E ‘license and shall be valid to operate any "motor

vehicle” with a GVWR of not more than twenty-six thousand pounds and any such
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 42 of 139

vehicle towing another vehicle with a GVWR of not more than ten thousand pounds
except it shall not be valid to operate a tractor or a motorcycle other-than a class B or C

limited use motorcycle.

9. (iv) Class D. Such license shall be valid to operate any "passenger" or “limited use"
"automobile" or any truck with a GVWR of not more than twenty-six thousand pounds or
any such vehicle towing a vehicle with a GVWR of not more than ten thousand pounds,
or any such vehicle towing another vehicle with a GVWR of more than ten thousand.
pounds provided such combination of vehicles has a GCWR of not more than twenty-six
thousand pounds, or any personal use vehicle with a GVWR of not more than twenty-six

. thousand pounds or any such vehicle towing a vehicle with a GVWR of not more than ten
thousand pounds, except it shall not be valid to operate-a tractor, a motorcycle other than
a class B or C limited use motorcycle, a vehicle used to transport passengers for hire or
for which a hazardous materials endorsement is required, or a vehicle defined as a bus in
subdivision one of section five hundred nine-a of this title.

10. (v) Class E. Such license shall be valid to. operate only vehicles which may be operated
with a class D license, except that in addition it shall be valid to operate any such motor
vehicle, other than a vehicle defined as a bus in subdivision one of section five hundred
nine-a of this chapter, used to transport up to fourteen passengers for hire and other than
an altered motor vehicle commonly referred to as a "stretch limousine" having a seating
capacity of nine or more passerigers including the driver.

11. As noted above, a class A, B, C or E license, each stipulate in their wording to include
authorization of operating a "motor vehicle", which defines or leads to the presumption
that these classes of licenses pertain to the use of a vehicle for "commercial" purposes, as
defined in 18 USC Chapter 2 Sec 31 Sub Section 6 Federal code.

12. On the contrary, a class D license, makes no mention of the words and/or term "motor
vehicle", only referencing the operation in some form or another of an "automobile". This
gives way to the presumption an individual possessing this class of license is NOT
allowed, authorized, nor permitted to use their contrivance or automobile for "hire"
and/or "commercial" purposes.

13. The vast majority of individuals are classed with a D license, because they do not use
their automobile for commercial purposes in their everyday progression of life, liberty, in
their pursuit of happiness.

14. Having stated all of the above, one must conclude the "automobile" you're sitting in
behind the wheel, steering along the passageways during your normal everyday travels,
not being used for commercial purposes, is NOT to be considered. a "motor vehicle", as
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 43 of 139

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defined in Federal code, with the State of New. York being under and/or within the
jurisdiction thereof.

To finalize the clarity of the everyday automobile people ride in behind the wheel, not to
be defined as a "motor vehicle", I posed the question online to the New York State DMV
on July 3, 2020, asking, "Is an individual with a class D license permitted to operate a
"motor vehicle". The DMV response on July 27, 2020 was, "Yes: As long as they are
companied by a licensed driver.” Exhibit A

Because people possessing a class D license are not required to be companied by a
licensed driver, to travel in their everyday automobile, this further confirms the above
conclusion, that the automobile people are traveling in the course of their everyday life,
not being used for commercial purposes, is in fact and definitively, NOT a "motor
vehicle" as outlined and/or used in NYS VAT LAW TITLE VIL Rules of the Road.

. Therefore, because an individual or person possessing a class D license, not using their

automobile for commercial purposes, is not operating a "motor vehicle" as outlined in
NYS VAT LAW Rules of the Road, a police officer cannot lawfully stop/arrest you while
traveling in your automobile under the presumption of operating a "motor vehicle",
without witness to the appearance of a crime being or had been committed, nor lawfully
charge you with a violation of the NYS VAT LAW Rules of the Road for said offenses
referencing the operation of a "motor vehicle", nor can one be summonsed into court for
said unlawful charges, nor convicted for violating a statute referencing the operation ofa
"motor vehicle” as outlined in the aforementioned NYS VAT codes, as anything that
transpires after an unlawful stop/arrest is not just VOID, but necessarily VOID, ab initio.
Furthermore, Féderal Department of Transportation, Title 49 CFR. Subsection 390.5
states Definition of Driver: any person who operates any commercial motor vehicle.
Thus, if a person or individual is‘not operating a commercial motor vehicle, which all
"motor vehicle(s)" are used for commercial purposes, as réferericed above, that person.
and/or individual is not considered a "driver" and as such, is not required to obtain a
“drivers license” while exercising their Right to Travel lawfully upon the public
passageways, roads and/or highways.

This means any arrest and citation given to the aforementioned individual and/or person,
possessing a class D license, or person not being licensed at all, referencing the operation
of a "motor vehicle" when they are in fact riding along the passageways during their
everyday travels in their "automobile", is unlawful, deprivation of rights under the color
of law as stated in 18 U.S. Code subsection 242, thus any prosecution malicious and any
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 44 of 139

conviction for NYS VAT LAW violations pertaining to the operation of a "motor

vehicle" null and necessarily void ab initio, like they never even happened.

Having concluded not to be operating a "motor vehicle", nor being a "driver" in need of a
drivers license, I put you and your entire department of Onondaga County Sheriff Deputies, on Notice
that having a "drivers license" is NOT needed to travel upon the public highways, in which case, I will
be exercising my right to lawfully travel without a NYS Drivers license in my personal property, an
automobile, that I rightfully own via acquisition, with such automobile described by the IRS in Title
49 U.S. code Subsection 13102 (11) as Household Goods, thus not needing title, nor registration.

Failure to respond, within (30) thirty days receipt of this Affidavit/Notice having the opportunity to

rebut the stated claims herein, by acquiescence, will allow for the facts to be as stated above.

I certify that the foregoing to the best of my ability is true, correct, complete and not.misleading.

April 7, 2021
Respectfully yours,

[LLL S.nct-

Richard L. Sposato, Suis Juris
With a postal address of;
Non-Domestic Mail

C/O 510 N. Orchard Rd.
Solvay, New York

ZIP CODE EXEMPT
Signed: : é
Printed Name: DAVID GO. DRAG IcEvIch
|e DAVID J DRAGICEVICE
pae_a¥/d7/ doa) NOTARY PUBLIC STATE OF NEW YORK
My Commission Expires:__ /O 1aq/aca y OSWEGO COUNTY

LIC. #01DR6410495
COMM. EXP, 10/26/2024
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed.04/25/23 Page 45 of 139

Exhibit A
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 46 of 139

'** Do-not reply to this email. You will not receive a.response. **

' Thank you for using the DMV's Ask a Question service. Here is a summary of your
. question and our response. If you feel we did not answer your question to your

. satisfaction or you need more information, please respond to us using the "Update
- your question” link below.

: Subject

Is an individual with a class D license permitted to operate a motor vehicie..?

' Response'By Email (Max A) (07/27/2020 01

Dear Richard,

- Thank you for contacting New York State Department of Motor Vehicle.
- Wes. As long as they are companied by a licensed driver.

- Please let us know if you need any additional information.
' Thank you for your enquiry and we look forward to assisting you in the future.

. Max A.
: New York State DMV

cense permitted to operate a motor vehicle..?

' Update your submission
Case 5:23-cv-00364-GT, -MJK Document 7-8

Filed 04/25/23

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AFFIDAVIT OF TRUTH
DEMAND FOR LAWFUL AUTHORITY AND JURISDICTION

NOTICE OF LAWFUL TRAVELER

STATE OF NEW YORK)
COUNTY OF ONONDAGA _ )

Onondaga County Sheriff Engene Conway, _

I, Me, My, or Myself, also known as Richard L. Sposato, a sovereign, living soul, a man living upon
the land, a judicial power Citizen by right of blood, without the corporation called STATE OF NEW
YORK, with this Affidavit of Truth, do hereby Demand Lawful Authority and Jurisdiction concerning
all police officers employed within the jurisdiction of New York State and/or all Deputies of the
Onondaga County Sheriff's Office, as it applies to me traveling on the passageways, roads and/or
highways of New York State, the State of New York or any other commonly referred to name of this

state or STATE, in my automobile and provide Notice of Lawful Traveler, by Declaration, as follows;

The undersigned, Richard L. Sposato, a man, with this Affidavit of Truth and Rebuttal of
Presumption, I "squarely challenge" the JURISDICTION AND LAWFUL AUTHORITY of any
Onondaga County employed Police, Sheriff and/or Deputy of the Onondaga County Sheriff's Office,
or any other County Sheriff employed and/or operating within the jurisdiction of New York State, to
stop, detain and arrest People, individuals, men, women, persons, Me or Myself traveling upon public
passageways, roads and/or highways, for sitting behind the wheel, steering, while moving or not, in, or
using an owned, or rental version of a passenger, personal or limited use automobile, while holding,
using and/or being licensed with a NYS class D drivers license in their name, or not holding, being .
unlicensed and/or without said, NYS class D drivers license, under the guise of said People,

individuals or persons "operating" a "motor vehicle".

1. I, Richard L. Sposato, swear to my best belief, that the State of New York or STATE OF
NEW YORK, is a territory, possession and/or a corporation of the United States or
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 49 of 139

UNITED STATES, falling under the jurisdiction of the Federal government and/or the
DISTRICT OF COLUMBIA, found and declared in Section 516 of the NY Vehicle and
Traffic Law.

2. The Federal definition of a Motor Vehicle, which the State of New York and/or the
STATE OF NEW YORK falls within the jurisdiction thereof, as stated in 18 USC
Chapter 2 Sec 31 Sub Section 6, reads as follows: MOTOR VEHICLE-the term "motor
vehicle" means every description of carriage or other contrivance propelled or drawn by
mechanical power and used for "commercial" purposes on the highways in the
transportation of passengers, passengers and property, or property or cargo.

3. The definition of a "motor vehicle" is clearly defined as being used for commercial
purposes. Everyday automobiles being used for personal use, going to and from work or
to the grocery store, or out for a night on the town are NOT being used over the public
passageways and/or highways in a commercial capacity, i.e. for monetary gain. These
said automobiles are being used as a contrivance, for everyday, non commercial travel on
stated ways.

4. NYS VEHICLE AND TRAFFIC LAW - VAT 501 Drivers licenses and learners permits
states... The commissiorier shall issue classified drivers licenses as provided in this article.
Any such license shall be valid only for the operation of the type of vehicles specified for
each class of license but shall not be valid for the operation of any type of vehicle for
which an endorsement is required by this section or regulations promulgated hereunder
unless the license contains such endorsement and shall be subject to any restrictions
contained thereon.

5. Drivers license classifications, endorsements and restrictions and exceptions. License
classifications are as follows.

6. (i) Class A. Such license shall be-valid to operate any "motor vehicle" or any combination
of vehicles except it shall not be valid to operate a motorcycle other than a class B or C
limited use motorcycle.

7. (ii) Class B. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor
vehicle" or any such vehicle, other than a tractor, towing a vehicle having a GVWR of
not more than ten thousand pounds except it shall not ‘be valid to operate a motorcycle
other than a class B or C limited use motorcycle.

8. (iii) Class C. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor

vehicle" with a GVWR of not more than twenty-six thousand pounds and any such
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 50 of 139

vehicle towing another vehicle with a GVWR of not more than ten thousand pounds
except it shall not’be valid to operate a tractor or a motorcycle other than a class B or C
limited. use motorcycle.

9. (iv) Class D. Such license shall be valid to operate any "passenger" or "limited use"
"automobile" or any truck with a GVWR of not more than twenty-six thousand pounds or
any such vehicle towing a vehicle with a GVWR of not more than ten thousand pounds,
or any such vehicle towing another vehicle with a GVWR of more than ten thousand
pounds provided such combination of vehicles has a GCWR of not more than twenty-six
thousand pounds, or any personal use vehicle with a GVWR of not more than twenty-six
thousand pounds or any such vehicle towing a vehicle with a GVWR of not more than ten
thousand pounds, except it shall not be valid to operate a tractor, a motorcycle other than
a class B or C limited use motorcycle, a vehicle used to transport passengers for hire or
for which a hazardous materials endorsement is required, or a vehicle defined as a bus in
subdivision one of section five hundred nine-a of this title.

10. (v) Class E. Such license shall be valid to operate only vehicles which may be operated
with a class D license, except that in addition it shall be valid to operate any such motor
vehicle, other than a vehicle defined as a bus in subdivision one of section five hundred
nine-a of this chapter, used to transport up to fourteen passengers for hire and other than
an altered motor vehicle commonly referred to as a "stretch limousine” having a seating
capacity of nine or more passengers including the driver.

11. As noted above, a class A, B, C or E license, each stipulate in their wording to include
authorization of operating a "motor vehicle", which defines or leads to the presumption
that these classes of licenses pertain to the use of a vehicle for "commercial" purposes, as
defined in 18 USC Chapter 2 Sec 31 Sub Section 6 Federal code.

12. On the contrary, a class D license, makes no mention of the words and/or term "motor
vehicle", only referencing the operation in some form or another of an "automobile". This
gives way to the presumption an individual possessing this class of license is NOT
allowed, authorized, nor permitted to use their contrivance or automobile for "hire"
and/or "commercial" purposes.

13. The vast majority of individuals are classed with a D license, because they do not use
their automobile for commercial purposes in their everyday progression of life, liberty, in
their pursuit of happiness.

14. Having stated all of the above, one. must conclude the "automobile" you're sitting in
behind the wheel, steering along the passageways during your normal everyday travels,

not being used for commercial purposes, is NOT to be considered a "motor vehicle”, as
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 51 of 139

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defined in Federal code, with the State of New York being under and/or within the
jurisdiction thereof.

To finalize the clarity of the everyday automobile people ride in behind the wheel, not to
be defined as a "motor vehicle", I posed the question online to the New York State DMV
on July 3, 2020, asking, "Is an individual with a class D license permitted to operate.a
"motor vehicle". The DMV response on July 27, 2020 was, "Yes. As long as they are
companied by a licensed driver." Exhibit A

Because people possessing a class D license are not required to be companied by a
licensed driver, to travel in their everyday automobile, this further confirms the above

conclusion, that the automobile people are traveling in the course of their everyday life,

not being used for commercial purposes, is in fact and definitively, NOT a "motor

vehicle" as outlined and/or used in NYS VAT LAW TITLE VII Rules of the Road.
Therefore, because an individual or person possessing a class D license, not using their
automobile for commercial purposes, is not operating a "motor vehicle” as outlined in
NYS VAT LAW Rules of the Road, a police officer cannot lawfully stop/arrest you while
traveling in your automobile under the presumption of operating a "motor vehicle",
without witness to the appearance of a crime being or had been committed, nor lawfully
charge you with a violation of the NYS VAT LAW Rules of the Road for said offenses
referencing the operation of a "motor vehicle", nor can one be summonsed into court for
said unlawful charges, nor convicted for violating a statute referencing the operation of a
“motor vehicle" as outlined in the aforementioned NYS VAT codes, as anything that
transpires after an unlawful stop/arrest is not just VOID, but necessarily VOID, ab initio.
Furthermore, Federal Department of Transportation, Title 49 CFR Subsection 390.5
states Definition of Driver: any person who operates any commercial motor vehicle.
Thus, if a person or individual is not operating a commercial motor vehicle, which all
"motor vehicle(s)" are used for commercial purposes, as referenced above, that person
and/or individual is not considered a "driver" and as such, is not required to obtain a
"drivers license" while exercising their Right to Travel lawfully upon the public
passageways, roads and/or highways.

This means any arrest and citation given to the aforementioned individual and/or person
possessing a class D license, or person not being licensed at all, referencing the operation
of a "motor vehicle" when they are in fact riding along the passageways during their
everyday travels in their "automobile", is unlawful, deprivation of rights under the color

of law as stated in 18 U.S. Code subsection 242, thus any prosecution malicious and any
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 52 of 139

conviction for NYS VAT LAW violations pertaining to the operation of a "motor

vehicle" null and necessarily void ab initio, like they never even happened.

Having concluded not to be operating a "motor vehicle", nor being a "driver" in need of a
drivers license, I put you and your entire department of Onondaga County Sheriff Deputies, on Notice
that having a "drivers license" is NOT needed to travel upon the public highways, in which case, I will
be exercising my right to lawfully travel without a NYS Drivers license in my personal property, an
automobile, that I rightfully own via acquisition, with such automobile described by the IRS in Title
49 U.S. code Subsection 13102 (11) as Household Goods, thus not needing title, nor registration.

Failure to respond, within (30) thirty days receipt of this A ffidavit/Notice having the opportunity to

rebut the stated claims herein, by acquiescence, will allow for the facts to be as stated above.

I certify that the foregoing to the best of my ability is true, correct, complete and not misleading.

April 7, 2021
Respectfully yours,

<=]
Richard L. Sposato, Suis Juris
With a postal address of;
Non-Domestic Mail
C/O 510 N. Orchard Rd.
Solvay, New York
ZIP CODE EXEMPT

Signed:
Printed Name: DAVID 9. DRAGICEVICH DAVID J ORAGICEV
ICH
Date: OY / Oy / 409) NOTARY PUBLIC STATE OF NEW YORK
#9 OSWEGO COUNTY

My Commission Expires:__ /0/X6/J0aY LIC. #01DR6410495
7 COMM. EXP. 10/26/2024

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 53 of 139

Exhibit A
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 54 of 139

Thank you for using the DMV's Ask a Question service. Here is a summary of your
question and our response. If you feel we did not answer your.question to your
satisfaction or you need more information, please respond to us using the "Update
your question” link below.

" Subject

Is an individual! with a class D license permitted to operate a motor vehicle..?

' Dear Richard,

- Thank you for contacting New York State Department of Motor Vehicle.
' Wes. As long as they are companied by a licensed driver.

: Please let us know if you need any additional information.
' Thank you for your enquiry and we look forward te assisting you in the future.

(Max A.
New York State DMV

s an individual with a class D license permitted to operate a motor vehicle..?

- Update your submission
Case 5:23-cv-00364-GTS-MJK Document 7-8

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Page 55 of 139

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Track Another Package --

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USPS Premium Tracking: USPS will offer a fee-based service to extend the availability of tracking data on domestic competitive products
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The Manual Entry Acceptance screen will be modified to use the Pricing Engine for all rates calculations. Users will no longer enter fees for
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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 59 of 139

AFFIDAVIT OF TRUTH
DEMAND. FOR LAWFUL AUTHORITY AND JURISDICTION

NOTICE OF LAWFUL TRAVELER

_STATEOF NEW YORK)
COUNTY OF ONONDAGA —)

Solvay Police Chief Allen Wood,

I, Me, My, or Myself, also known as Richard L. Sposato, a sovereign, living soul, a man living upon
the land, a judicial power Citizen by right of blood, without the corporation called STATE OF NEW
YORK, with this Affidavit of Truth, do hereby Demand Lawful Authority and Jurisdiction conceming
all police officers employed within the jurisdiction of New York State and/or all local Solvay Police
Officers and/or Deputies, as it applies to me traveling on the passageways, roads and/or highways of
New York State, the State of New York or any other commonly referred to name of this state or
STATE, as well as.all roads in the Village of Solvay, in my automobile and provide Notice of Lawfil
Traveler, by Declaration, as follows;

The undersigned, Richard L. Sposato, a man, with this Affidavit of Truth and Rebuttal of
Presumption, I "squarely challenge" the JURISDICTION AND LAWFUL AUTHORITY of any
Village of Solvay Police and/or Deputy, or any other police officer exoployed and/or operating within
the jurisdiction of what is known as New York State, to stop, detain and arrest People, individuals,
men, women, persons, Me or Myself traveling upon public passageways, roads and/or highways, for
sitting behind the wheel, steering, while moving or not, in, or-using an owned, or rental version of a

. ‘passenger, personal ot limited use automobile, while holding, using and/or being licensed with a NYS
class D drivers license in their name, or not holding, being unlicensed and/or without said, NYS class
D drivers license, under the guise of said People, individuals or persons "operating" a “motor vehicle".

1. I, Richard L. Sposato, swear to my best belief, that the State of New York or STATE OF °
NEW YORK, or what is referred to be New York State, is a territory, possession and/or a
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 60 of 139

corporation of the United States or UNITED STATES, falling under the jurisdiction of
the Federal government and/or the DISTRICT OF COLUMBIA, found and declared in
Section 516 of the NY Vehicle and Traffic Law. .

2. The Federal definition of a Motor Vehicle, which the State of New York and/or:the
STATE OF NEW YORK falls within the jurisdiction thereof, as stated in 18 USC
Chapter 2 Sec 31 Sub Section 6, reads as follows: MOTOR VEHICLE-the term "motor

- vehicle" means every description of carriage or other contrivance propelled or drawn by.
mechanical power and used for "commercial" purposes on the highways in the
transportation of passengers, passengers and property, or property or cargo.

3. The definition of a "motor vehicle" is clearly defined as being used for commercial _,
purposes. Everyday automobiles being used for personal use, going to and from work or
to the grocery store, or out for a night on the town are NOT being used over the public “
passageways and/or highways ina commercial capacity, i.e. for monetary gain. These. -
said automobiles are being used as a contrivance, for everyday, non commercial travel on.
stated. ways. oe

4, NYS VEHICLE AND TRAFFIC LAW - VAT 501 Drivers licenses and learners. peratits
states...The commissioner shall issue classified drivers licenses as provided i inthis article. -

. Any such license shall be valid only for the operation of the type of vehicles specified for
each class of license but shall not be valid for the operation of any type of vehicle for
which an endorsement is required by this’section or regulations promulgated hereunder
unless the license contains such endorsement and shall be subject t to any restrictions
‘contained thereon.

5. Drivers license classifications, endorsements and restrictions and exceptions. License

_ Classifications are as follows. .

6. () Class A. Such license shall_be valid to operate any "motor vehicle" or any combination
of vehicles except it shall not be valid to operate a motorcycle other than a class. B orG
limited use motorcycle. .

7. (ii) Class B. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a class E license and shall be valid to operate any "motor

-- vehicle" or any such vehicle, other than a tractor, towing a vehicle having a GVWR of
not more than ten thousand pounds except it shall not be valid to operate.a motorcycle
other than a class B or C limited use motorcycle. :

8. (iii) Class C. Such license shall be valid to operate any vehicle or combination of vehicles
which may be operated with a.class E license and shall be valid to operate any "motor
vehicle" with a GVWR of not more than twenty-six thousand pounds and any such.
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 61 of 139

vehicle towing another vehicle with a GVWR of not more than ten thousand pounds
except it shall not be valid to operate a tractor or a motorcycle other than a-class B or C
limited use motorcycle.

9. (iv) Class D. Such license shall be valid to operate any "passenger" or "limited use"
"automobile" or any truck with a GVWR of not more than twenty-six thousand pounds or
_any such vehicle towing a vehicle with a GVWR of not more than, ten thousand pounds,
or any such vehicle towing another vehicle with a GVWR of more than ten thousand .
pounds provided such combination of vehicles has a GCWR of not more than twenty-six
thousand pounds, or any personal use vehicle with a GVWR of not more than twenty-six
thousand-pounds or any such vehicle towing a vehicle with a GVWR of not more than-ten
thousand pounds, except it shall not be valid to operate a tractor, a motorcycle other than
a class B or C limited use motorcycle, a vehicle used to transport passengers for hire or
for which a hazardous materials endorsement is required, or a vehicle defined.as a bus in
subdivision one of section five hundred nine-a of this title. .

10. (v) Class E. Such license shall be valid to operate only vehicles which may be operated
with a class D license, except that in addition it shall be valid to operate any such motor
vehicle, other than a vehicle defined as a bus in subdivision one of section five hundred
nine-a of this chapter, used to transport up to fourteen passengers for hire and other than
an altered motor vehicle commonly referred to as a "stretch limousine" having a seating
capacity of nine or more passengers including the driver.

- 11. As noted above, a class A;'B, C or E license, each stipulate in theit wording to include
authorization of operating a "motor vehicle", which defines or leads to the presumption
that these classes of licenses pertain to the use of a vehicle for "commercial" purposes, as
defined in 18 USC Chapter 2 Sec 31 Sub Section 6 Federal code.

12. On the contrary, a class D license, makes no mention of the words and/or term "motor
vehicle", only referencing the operation in some form or another of an "automobile". This
gives way to the presumption an individual possessing this class of license is NOT
allowed, authorized, nor permitted to use their contrivance or automobile for "hire" -
and/or "commercial" purposes.

13. The vast majority of individuals are classed with a D license, because they do not use
their automobile for commercial purposes in their everyday progression of life, liberty, in
their pursuit of happiness.

14. Having stated all of the above, one must conclude the "automobile" you're sitting in
behind the wheel, steering along the passageways during your normal everyday travels,
not being used for commercial purposes, is NOT to be considered a "motor vehicle", as
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 62 of 139

defined in Federal code, with the State of New York being under and/or within the
jurisdiction thereof.

15. To finalize the clarity of the everyday automobile people ride in behind the wheel, not to
be defined as a "motor vehicle", I posed the question online to the New York State DMV.
on July 3, 2020, asking, "Is an individual with a class D license permitted to operate a
"motor vehicle". The DMV response on July 27, 2020 was, "Yes. As long as they are
companied by a licensed driver." Exhibit A

16. Because people possessing a class D license are not required to be companied by a
licensed driver, to travel in their everyday automobile, this further confirms the above
conclusion, that the automobile people are traveling in the course of their everyday, life,
not being used for commercial purposes, is in fact and definitively, NOT a Mmotor
vehicle" as outlined and/or used in NYS VAT LAW TITLE VII Rules of the Road.

17. Therefore, because an individual or person possessing a class D license, not using their
automobile for commercial purposes, is not operating a "motor vehicle" as outlined in
NYS VAT LAW Rules of the Road, a police officer cannot lawfully stop/arrest you while
traveling in your automobile under the presumption of operating a "motor vehicle",
without witness to the appearance of a crime being or had been committed, nor lawfully
charge you with a violation of the NYS VAT LAW Rules of the Road for said offerises
referencing the operation of a "motor vehicle", nor can one be summonsed into court for
said unlawful charges, nor convicted for violating a statute referencing the operation of a
"motor vehicle" as outlined in the aforementioned NYS VAT codes, as anything that .
transpires after an unlawful stop/arrest is not just VOID, but necessarily VOD, ab initio.

18. Furthermore, Federal Department of Transportation, Title 49 CFR Subsection 390.5
states Definition of Driver: any person who operates any commercial motor vehicle.

19. Thus, if'a person or individual is not operating a commercial motor vehicle, which all
"motor vehicle(s)" are used for commercial purposes, as referenced above, that person
and/or individual is not considered a "driver" and as such, is not required to obtain a
"drivers license"' while exercising their Right to Travel lawfully upon the public .
passageways, roads and/or highways.

20. This means any arrest and citation given to the aforementioned. individual and/or person
possessing a class D license, or person not being licensed at all, referencing the operation
of a “motor vehicle" when they are in fact riding along the passageways during their
everyday travels in their "automobile", is unlawful, deprivation of rights under the color
of law as stated in 18 U.S. Code subsection 242, thus any prosecution malicious and any
. Case 5:23-cv-00364-GTS-MJK Document 7-8  .Filed 04/25/23 Page 63 of 139

conviction for NY$ VAT LAW violations pertaining to the operation of a "motor
vehicle" null and necessarily void ab initio, like they never even happened.

Having concluded not to be operating a "motor vehicle", nor being a "driver" in need of a
drivers license, I put you and the entire Solvay Police department and its Deputies, on Notice that
having a "drivers license" is NOT needed to travel upon the public highways, in which case, I will be
exercising my right to lawfully travel without a NYS Drivers license in my personal property, an

. automobile, that I rightfully own via acquisition, with such automobile described by the IRS in Title .
49 U.S. code Subsection 13102 (11) as Household Goods, thus not needing title, nor registration.

Failure to respond, within (30) thirty days receipt of this Affidavit/Notice, having the opportunity to _
rebut the stated claims herein, by acquiescence, will allow for the facts to be as stated: above.

I certify that the foregoing to the best of my ability is true, correct, completé and not misleading.

April 7, 2021
Respectfully yours,

2.0 t Sot

Richard L. Sposato, § Suis Juris
With a postal address off
Non-Domestic Mail

C/O 510 N. Orchard Rd.
Solvay, New York

zip CODE EXEMPT
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Case 5:23-cv-00364-GTS-MJK Document 7-8  , Filed 04/25/23 Page 64 of 139

Exhibit A
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 65 of 139

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Thank you for contacting ew York State Depariment of Motor Vehidle:
Wes. -As long as they are companied by a licensed driver.

Please let us know if you: need any additional information.
Thank you for your enquiry and we look forward to assisting-you in the future.

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Page 66 of 139

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Case 5:23-Cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 68 of 139

NOTICE OF DEFAULT

STATE OF NEW YORK )
COUNTY OF ONONDAGA )

Solvay Police Chief Allen Wood, ©

I, Richard Sposato, having properly presented to you, certified mailed to you postmarked April 7,
2021 an Affidavit of Truth - Demand For Lawful Authority and Jurisdiction, Notice of Lawful :
Traveler, in good faith and accordance with Lawful due process, you had.an opportunity to
respond within 30 days as legally accepted, reasonable time, which you are now in default.

Notice - Commercial processes (including said Affidavit and the required responses to it)
ARE NON-JUDICIAL and pre-judicial because:

a) No judge, court, government or any agencies thereof, or any other third parties whatsoever,
can abrogate anyone's affidavit of truth; and

b) Only a party affected by an affidavit can speak and act for himself and is solely responsible
for responding with his/her own affidavit of truth, which no one else can do for him/her.

Your willful failure to respond within a reasonable, accepted legal time of 30 days, constitutes.a
waiver of your opportunity to rebut and to contest the statements within said document.
Furthermore, your failure to ‘rebut, constitutes authorization for the courts to find the facts to be
as presented in my Affidavit of Truth - Demand For Lawful Authority and J urisdiction, Notice of
Lawful Traveler, certified mailed to you postmarked April 7, 2021.
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 69 of 139

I, Richard Sposato, have personal knowledge of the above facts, 1 am competent to testify to the
above facts, and declare that the foregoing is true, correct and complete under the penalty of

perjury.

DATED: 6/2/2021

Respectfully yours,

Los,

Richard Sposato, Sui juris
315-412-1776
With a postal address of;
Non-Domestic Mail

C/O 510 N. Orchard Rd.
Solvay, New York

ZIP CODE EXEMPT

sioned: (hp MAC KoA?
. CAROL A. TECHMIAN
Printed Name: hiotary Public. State of Mew York
No: O1TEGUBS425
Date: Qualified in Cayuga County
My Commission Expires Oct. 15, 20

My Commission Expires:

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Case 5:23-cv-00364-GTS-MJK ‘Document 7-8 Filed 04/25/23. Page 70 of 139

NOTICE OF DEFAULT

STATE OF NEW YORK. )
COUNTY OF ONONDAGA )

NYS Police Superintendent Kevin P. Bruen,

I, Richard Sposato, having properly presented to you, certified mailed to you postmarked April 7,
2021 an Affidavit of Truth - Demand For Lawful Authority and Jurisdiction, Notice of Lawful
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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 71 of 139

I, Richard Sposato, have personal knowledge of the above facts, I am competent to testify to the
above facts, and declare that the foregoing is true, correct and complete under the penalty of

perjury.

DATED: 6/2/2021

Respectfully yours,

bo 4 Spot

Richard Sposato, Sui juris
315-412-1776
With a postal address of,
Non-Domestic Mail

- C/O.510N. Orchard Rd.
Solvay, New York
ZIP CODE EXEMPT

Signed:
. CAROL A. TECHMAN
Printed Name: . Notary. Public, Stats of New York
Ne: (i TESnes4aa5
Date: Qualified in Cayuge County

—L.
Wy Commission Expires Oct. 15, 002!

2-292 (

My Commission Expires:

Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 72 of 139

NOTICE OF DEFAULT

STATE OF NEW YORK. )
COUNTY OF ONONDAGA)

NYS Police Deputy Superintendent Colonel Steven A. Negrilli,

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 73 of 139

I, Richard Sposato, have personal knowledge of the above facts, 1 am competent to testify to the
above facts, and declare that the foregoing is true, correct and complete under the penalty of

perjury.

DATED: 6/2/2021

Respectfully yours,

PLD Spout

Richard Sposato, Sui juris
315-412-1776

With a postal address of;
Non-Domestic Mail

C/O 510'N. Orchard Rd.
Solvay, New York

ZIP CODE EXEMPT

Printed Name:

Date: vs nage Tes
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My Commission Expires: gry commission Expires Oct. *

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Signed: (hr NOE aby) a

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 74 of 139

_NOTICE OF DEFAULT.

STATE OF NEW YORK. )
COUNTY OF ONONDAGA)

Onondaga County Sheriff Eugene Conway,

L, Richard Sposato, having properly presented to you, certified mailed to you postmarked April 7,
2021 an Affidavit of Truth - Demand For Lawful Authority and Jurisdiction, Notice of Lawful
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Case 5:23-cv-00364-GTS-MJK Document7-8 Filed 04/25/23 Page 75 of 139

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perjury.

DATED: 6/2/2021

Respectfully yours,

VPS omet-

Richard Sposato, Sui juris
315-412-1776

With a postal address of,
Non-Domestic Mail

C/O 510 N. Orchard Rd.
Solvay, New York

ZIP CODE EXEMPT

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 76 of 139

NOTICE OF DEFAULT

STATE OF NEW YORK )

COUNTY OF ONONDAGA. |) --

NYSSA President Jeffrey Murphy,

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2021 an Affidavit of Truth - Demand For Lawful Authority and Jurisdiction, Notice of Lawful .
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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 77 of 139

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perjury.

" DATED: 6/2/2021

“Tel p yours,

Richard Sposato, Sui juris
315-412-1776

With a postal address of;
Non-Domestic Mail
C/O.510 N. Orchard Rd.
Solvay, New York

ZIP CODE EXEMPT

Signed: Gow athe Ko4)

CAROL A, TECHMAN

Printed Name: ahtin, Stale ot Mew York
~ No: OFF EBOSLALS

Date: oct iiieort bn CME Mee County A\
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My Commission Expires: My [ems

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EXHIBIT 3
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 81 of 139

NOTICE: AFFIDAVIT OF FACT

STATE OF NEW YORK)
COUNTY OF ONONDAGA )

VILLAGE OF SOLVAY )

Megan Cavaliere,

I, the undersigned, Richard L. Sposato, a Natural-Born, Free adult Citizen of the
Republic state of New York, thus of America, a man, endowed by our Creator with
inalienable rights, with this Affidavit of Fact "squarely rebut" your accusation and state

the following facts happened, as follows:

1. On Wednesday morning, September 22, 2021, approximately 11:15 am, I
walked into the hallway of thé Solvay Village Court Clerk's office at 1100
Woods Rd., to get clarification of a letter | received supposedly to appear in
court that evening. I stood in the hallway for approximately 10 minutes
waiting for a person to arrive at the office to take care of me. I notified the
driver of my ride that I was still waiting to be taken care of. A gentleman
came through the hallway and said the lady will be right with you. The lady
finally arrived, who is believed to be Megan Cavaliere. As she approached the
window separating the hallway where I was standing and her office, | slipped
the document I received in the mail under the window for her to see and asked
her if L had court this evening, which she replied, "yes, you're on the docket
for court tonight". I further asked her who sent out the letter, as it arrived

unsigned. She slipped the document under the window back to me and
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 82 of 139

proceeded to say the court sent it out, which I replied "the court can't send
anything out, as the court is a corporation", as she walked to the back of the
room to sit at her desk. I asked her again who sent the letter and she replied "I
don't know, I'm not the only person in the office". Because Megan walked
back to her desk in the back of the room and didn't get a suffice answer to my
legitimate question, I stated to her there was only two people in the office, so
who sent it out, you or the other person..? She refused to fulfill her duty,
answering my question of who was responsible for this action, proceeded to
walk back up to the window, pulling the blinds down on the window to ignore
me, then going back to her desk. I immediately tried to get an answer out of
her, to no avail and after about 20 seconds of no reply, I decided to leave at
approximately 11:30. At no point during our conversation did the lady,
presumed to be Megan Cavaliere, ask me to leave, as I left freely on my own
accord after a total of about 3-5 minutes max of communication, getting no

satisfactory response to my question.

One of the duties of the office of the court clerk are to take care of
administration requests by the People, who have business to attend to with
regards to the court. As such, I was not obstructing the administration of such
duties, I was actually asking Ms. Cavaliere to perform her duties as an
administrator of the court and/or a Village of Solvay employee, in which case,
she failed to perform her duty to take care of customers in a timely and

courteous fashion.

There's no sign on the building stating this is PRIVATE PROPERTY and/or
NO TRESPASSING. As one of the People, the court clerk's office is a place
where the People may lawfully appear to take care of necessary legal matters.
At no time was I told to leave the premises, this being private property and I

was not allowed to be there by law.
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 83 of 139

I did not obstruct Ms Cavaliere from conducting her duty as an employee, nor

was I trespassing.

Failure for the above named, Megan Cavaliere, to respond to this NOTICE, within
(21) twenty one days receipt of this Notice, having the opportunity to rebut the stated

claims herein, by acquiescence, will allow for the above facts to be as stated.

I certify that the foregoing to the best of my ability is true, correct, complete and not

misleading.

September 29, 2021
Respectfully yours,

(LOL S.a-

Richard L Sposato, Suis Juris
c/o 510 N. Orchard Rd.
Solvay, New York [13209]
315-412-1776

Printed Name:

Date:_¢9/29/20.21

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 840

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 85 of 139

NOTICE OF DEFAULT

STATE OF NEW YORK }
COUNTY OF ONONDAGA  }
VILLAGE OF SOLVAY )
Megan Cavaliere,

I, Richard L. Sposato, having properly presented to you, a certified mailed legal
document, sent USPS certified mail postmarked September 29, 2021, Return Receipt
#7021 0350 0001 2027 9182, delivered on September 30, 2021,.a NOTICE: Affidavit of
Truth, in good faith and accordance with Lawful due process, you had an. opportunity to
respond within (10) ten days as legally accepted, reasonable time, which you are now in
default.

Notice - Commercial processes (including said Affidavit and the required responses
to it) ARE NON-JUDICIAL and pre-judicial because:

a) No judge, court, government or any agencies thereof, or any other third parties
whatsoever, can abrogate. anyone’s affidavit of truth; arid

b) Only a party affected by an affidavit can speak and act for himself and is solely
responsible for responding with:his/her own affidavit of trath, which no one else can do
for him/her.

Your willful failure to respond within a reasonable, accepted legal time of (10) ten days,
constitutes a waiver of your opportunity to rebut and to contest the statements within said
document. Furthermore, your failure to rebut, constitutes authorization: for the courts to
find the facts to be as presented in said above Affidavit of Truth, certified. delivered.to
you postmarked September 30, 2021.
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 86 of 139

I, Richard Sposato, have personal knowledge of the above facts, I am competent to testify
to the above facts, and declare that the foregoing is true, correct and complete under the

penalty of perjury.
DATED: 5/2/2022
Respectfully yours,

LS mt

Richard L. Sposato,’sui juris
c/o 510 N. Orchard Rd.
Solvay, New York [13209]

Signed: Lolo wnn% oH,
Printed Name: (Cokecen Qi
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NOTICE: AFFIDAVIT OF FACT

REBUTTAL OF PRESUMPTIONS IN COMPLAINT
ALL CHARGES NECESSARILY VOID

CASE #21-489986

STATE OF NEW YORK )
COUNTY OF ONONDAGA)

VILLAGE OF SOLVAY )

Village Justice Kara A. LaSorsa,

I, the undersigned, Richard L. Sposato, a Natural-Born, Free adult Citizen of the Republic
state of New York, thus of America, a man, endowed by our Creator with inalienable rights, with
this Affidavit of Fact - Rebuttal of Complaint, case #21-489986, "squarely rebut" the accusations,

presumptions and determinations, of Solvay Police officer D.Czerow, as follows:

1. Allegation for Obstruction of Governmental Administration 2nd - NYPL
195.05: on Wednesday morning, September 22, 2021, approximately 11:15 am, I
walked into the hallway of the Solvay Village Court Clerk's office at 1100 Woods
Rd., to get clarification of a letter | received supposedly to appear in court that _
evening. I stood in the hallway for approximately 10 minutes waiting for a person to
arrive at the office to take care of me. I notified the driver of my ride that I was still
waiting to be taken care of. A gentleman came through the hallway and said the lady
will be right with you. The lady finally arrived, who is believed to be Megan
Cavaliere. As she approached. the window separating the hallway where I was
standing and her office, I asked her if I had court this evening, which she replied,
"yes, you're on the docket for court tonight". I further asked her who sent out the

letter, as it arrived unsigned. She proceeded to say the court sent it out, which I
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 88 of 139

replied "the court can't send anything out, as the court is a corporation”, as she
walked to the back of the room to sit at her desk. I asked-her again who sent the letter
and she replied "I don't know, I'm not the only person in the office". I stated to her
there was only two people in the office, her and Barbara Lenweaver, so who sent.it
out..? She refused to answer my legitimate question of who was responsible for this
action and proceeded to pull the blinds down on the window, going back to her desk.
Iimmediately tried to get an answer out of her, to no avail and after about 20 seconds
of no reply, I decided to leave at approximately 11:30. At-no point during our
conversation did the lady, presumed.te be Megan, Cavaliere, ask me to leave and [left
freely on my own accord after a total of about 3-5 minutes max of communication,

getting no satisfactory response to my question.

One of the duties of the office of the court clerk are to take care of adminisiration
requests by the People, who have business to attend to with regards to the court. As
such, I was not. obstructing the administration of such duties, ] was actually asking
Ms. Cavaliere'to perform her duties as an administrator of the court and/or-a Village
of Solvay employee, in which case, she failed to perform her duty to take care of

customers in a‘timely and courteous fashion:

I vehemently deny the accusation | obstructed governmental administration in the
second degree, PL 195.05.

Allegation for Trespass - NYPL 140.05: on Wednesday morning, September.22,
2021, approximately 11:15 am, I approached the open to the public building of the
Village of Solvay, entering the office of the Solvay Court clerk to take cate of some
business. There's no sign on the building stating this is PRIVATE PROPERTY
and/or NO TRESPASSING. As one of the People, the court clerk's office is a place
where the People may lawfully appear to take care of necessary legal matters. At no
time was I told to leave the premises, this being private property and I was not

allowed to be-there by law.

Having said that, as one of the People, I'm lawfully-able to use the office of the clerk

ag necessary and vehemently deny the accusation I committed Trespass, PL 140.05.
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 89 of 139

3. As per my Affidavit of Status, previously filed with this court on July 21, 2021, lam
not an employee of, nor a party to the corporate STATE OF NEW YORK by contract
or otherwise, thus I, Richard L Sposato, do not fall within the jurisdiction of NEW
YORK STATE codes and statutes, as they do not apply to me.

NOTICE all charges are necessarily VOW, ab initio, must be dismissed by law, due to want of

jurisdiction and/or failure to state a cause of action for which relief may be granted.

Failure for the above named, Kara J Lasorsa, to respond to this NOTICE, within (21)
twenty one days receipt of this Notice, having the opportunity to rebut the stated claims herein, by

acquiescence, will allow for the facts to be as stated above

I certify that the foregoing to the best of my ability is true, correct, complete and not misleading.

September 29, 2021
Respectfully yours,

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Richard L. Sposato, Suis Juris
c/o 510 N. Orchard Rd.
Solvay, New York [13209]
315-412-1776

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NOTARY PUBLIC STATE OF NEW YORK

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 91 of 139

NOTICE OF DEFAULT

Village Justice Kara A. LaSorsa,

I, Richard L. Sposato, having properly presented to you, a certified mailed legal document, sent USPS
certified mail postmarked September 29, 2021, delivered on September 30, 2021, a NOTICE: Affidavit of
Trath, in good faith and accordance with Lawful due process, you had an opportunity to respond within
(10) ten days as legally accepted, reasonable time, which you are now in default.

Notice - Commercial processes (including said Affidavit and the required responses to it) ARE NON-
JUDICIAL and pre-judicial because:

a) No judge, court, government or any agencies thereof, or any other third parties whatsoever, can abrogate
anyone’s affidavit of truth; and

b) Only a party affected by an affidavit can speak and act for himself and is solely responsible for
responding with his/her own affidavit of truth, which no one else can do for him/her.

Your willful failure to respond within a reasonable, accepted legal time of (10) ten days, constitutes a
waiver of your opportunity to rebut and to contest the statements. within said document. Furthermore, your
failure to rebut, constitutes authorization for the courts to find the facts to be as presented in said above
Affidavit of Truth, certified delivered to you postmarked September 30, 2021.

I, Richard Sposato, have personal knowledge of the above facts, ] am competent to testify to the above
facts, and declare that the foregoing is true, correct and complete under the penalty of perjury.

DATED: 11/5/2021
Respectfully yours,
LL tS
left O~
Richard L. Sposato! sui juris

510 N. Orchard Rd.
Solvay, New York 13209

Signed: 1. Bab ighduagll Lyall

BRADLEY WHIPPLE
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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 92 of 139

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USPS is experiencing unprecedented volume
increases and limited employee
availability due to the impacts of
COVID-19. We appreciate your patience.

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 93 of 139

EXHIBIT 4
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 94 of 139
NOTICE OF INTENT - FEE SCHEDULE

To Whom It May Concern:

The annexed Notice of Intent — Fee Schedule is a schedule of mandatory fees instated by the
Secured Party Creditor, Richard Louis Sposato, Authorized Representative on behalf of
RICHARD SPOSATO, RICHARD L SPOSATO, Richard L. Sposato and RICHARD LOUIS
SPOSATO, Ens Legis. I, Richard Louis Sposato, do hereby set forth fees to be instated in any
business dealing with RICHARD SPOSATO, RICHARD L. SPOSATO, Richard L Sposato and
RICHARD LOUIS SPOSATO, for any business conducted relevant to this schedule. Fees are
due and MUST be paid before said business can commence. In the event that invoicing becomes
necessary, invoiced amounts are due fifteen days after day of receipt. If said fees are not met, it
is the right of the Secured Party Creditor, Richard Louis Sposato, to refuse or void any form of
business interaction and/or transaction. Fees are subject to change at any time without prior
notice. Secured Party Creditor, Richard Louis Sposato ©, is the only Authorized Representative
to alter, void, and/or enforce said fees and may do so at any time.

Pipe. ghts Reserved,

Lb Louis: Joa: Spot bencficiary su&é juris

Secured Party Lien Creditor, Authorized Representative for
RICHARD LOUIS SPOSATO, Ens Legis

Without Prejudice:

Witness and Acknowledgement

New York State
Onondaga County

A living man affirmed before me, a Recording Secretary/Notary, on this I) __ f* _ dayof
October, 2022, that Richard Louis Sposato, personally appeared and known to me to be the
woman whose name is referenced within the instrument and acknowledged to be the same.

Signed: Wc Cc ow GREGORY C VIRGINIA

NOTARY PUBLIC STATE OF NEW YORK
Pri : AH Byh “AL, ONONDAG

Printed Name: @ pty C. Vici 6 LIC. #01Vi6162774

Date: 10 l p> / LL ~ COMM. EXP. Mar. 19, 2023

My Commission Expires: 3] 4 bw

Page1/s
Case 5:23-cv-00364-GTS-MJK Document7-8 Filed 04/25/23 Page 95 of 139

Private Easements Schedule
Penalty for Private Use $250,000

Public Easements Schedule
Penalty for Public Use $250,000

These fees will be mandated upon the informant listed on the traffic citation ticket(s), arrest warrants,
detention orders, seizure orders. ,

Produce trade name materials:

a. Name $50,000

b. Drivers License Number $50,000

c. Social Security Number $100,000

d. Retinal Scans $5,000,000

e. Fingerprinting $200,000

f. Photographing $ 200,000

g. DNA . oo, oo. . $5,000,000
1. Mouth swab $ 5,000,000
2. Blood samples $ 5,000,000
3. Urine samples $ 5,000,000
4. Breathalyzer testing $ 5,000,000
5. Hair samples $ 5,000,000
6. Skin samples $ 5,000,000
7. Clothing samples $ 5,000,000
8. Forced giving of fluids/samples $ 5,000,000

Issue Traffic citations and tickets of any traffic nature:

a. Citations $60,000

b. . | Warning issued on Paper Ticket $25,000

Appearance in court because of traffic citations:

a. Time in court $75,000/hr with 1 hour min.

b. If Fine is imposed $ 500,000

Car / Personal Property Trespass, Carjacking, Theft, Interference with Commerce,

a. Agency by Estoppel $50,000

b. Color of Law $150,000

c. Implied Color of Law $ 150,000.
d. Criminal Coercion $500,000

e. Criminal Contempt of court $ 500,000
f. Estoppel by Election $ 350,000
g. Estoppel by Laches $ 350,000
h. Equitable Estoppel $ 500,000

i. Fraud $ 1,000,000
j. Fraud upon the court $ 2,000,000
k. Larceny $ 250,000
1. Grand Larceny $ 250,000
m. Larceny by Extortion $ 1,000,000
n. Larceny by Trick $ 1,000,000
o. Obstruction of Justice $ 100,000
p. Obtaining Property by False Pretenses $ 1,000,000

Page2/5
Case 5:23-cv-00364-GTS-MJK Document7-8 Filed 04/25/23 Page 96 of 139

q. Simulating Legal Process $ 1,000,000

r. Vexatious Litigation $5,000,000

s. Trespass upon Motor Conveyance $100,000

t. Unauthorized Relocation of Motor Conveyance $100,000

u. Seizure of Motor Conveyance $ 100,000

v. Theft of License Plate $ 10,000

w. Unlawful Lien on Motor Conveyance $ 50,000

Use of trade name protected material under threat, duress, and/ or coercion:
a. Name written by the informant $250,000
b. Drivers License written by informant $ 150,000
c. Social Security Number written by informant $ 150,000
d Miscellaneous Material written by informant $ 500,000

Produce any personal information/property for any kind of business interaction:

a. Financial Information $ 100,000

b. Property inside of motor vehicle $ 150,000

Time Usage for traffic stops:

a. 30 minutes $ 5,000/30 minutes min
b. 60 minutes $ 10,000

c. 90 minutes $ 15,000

Court Appearance Schedule
These fees MUST be paid immediately after my case is finished. Failure to pay fines and fees will have
an additional fee of $5000.00 for breach of contract.

Demand for Appearance in court:

1. My Appearance
a. under protest and duress: $ 75,000/hour
b. Voluntarily $ 10,000/hour
Use of trade name material
1. Name
a. under protest and duress: $25,000
b. Voluntarily . oe - $10,000
2. Drivers License
a. under protest and duress: $ 25,000
b. Voluntarily $10,000
3, Social Security Number
a. under protest and duress: $25,000
b. Voluntarily $ 10,000
C. Miscellaneous Material $ 25,000
4. Produce any personal information for any kind of business interaction:
a. Financial Information $ 10,000
b. Drivers License $ 10,000
c. Social Security Number $ 250,000
d. Any documents produced by me $ 10,000 per document

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Case 5:23-cv-00364-GTS-MJK Document 7-8

Time usage for court appearances:

1.

30 minutes

a. Under Protest and Duress
b. Voluntarily

60 minutes

a. Under Protest and Duress
d. Voluntarily

90 minutes or more

a. Under Protest and Duress
b. Voluntarily

Trespass-Fee Schedule

Trespass by public official(s), police officer(s), judge(s), attorney(s), Corporation(s)and other fictional
entities as well as all others who desire to contract:

mmoaege

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Page4/5

Failure to honor God Given Rights

Failure to honor Oath of Office

Failure to honor Constitutional Oath

Failure to honor Written and/or Oral Word
Silence/Dishonor/Default

Failure to honor /No Bond

Phone call to telephone number used by Secured
Party including from alleged debt collectors
Telephone message left on Secured Party phone
Service or equipment

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$ 33,500
$ 10,000

$ 75,000
$ 20,000

$ 100,500
$ 30,000

$20,000
$50,000
$50,000
$5,000

$ 5,000
$ 5,000

$5,000each

$ 5,000 each

Use of Street Address/Mailing location of Secured Party $ 5,000 each

Time Waiting for Scheduled Service

Detention from Free Movement and/or cuffed
Incarceration

Failure to Follow Federal and/or State Statutes,
Codes, Rules and/or Regulations

Failure to State a Claim upon which

Relief Can Be Granted

Failure to Present a Living Injured Party __
Failure to Provide Contract Signed by the Parties
Failure to Provide IRS 1099OID(s), and Other

IRS Reporting Form(s) Requirements upon Request
Default By Non Response or Incomplete Response
Fraud

Racketeering

Theft of Public Funds

Dishonor in Commerce

Failure to pay Counterclaim in full within (30) Thirty
Calendar Days of Default as set forth herein
Perverting of Justice Judgment

Use of Common-law Trade-name/Trade-mark
After One Warning (per each occurrence)

Forcing psychiatric evaluations

Refusal to provide adequate and proper nutrition
while incarcerated

$ 1,000 Minimum or per hour
$75,000 Minimum or per hour
$ 75,000 Minimum or per hour

$ 50,000

$25,0000
$100,000
$100,000*

$100,000*
$100,000*
$1,000,000*
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$1,000,000*
$1,000,000*

$1,000,000**
$ 1,000,000*

$50,000 Each
$ 500,000 per day

$ 50,000 per day
Case 5:23-cv-00364-GTS-MJK Document 7-8

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bb. Refusal to provide proper exercise while
Incarcerated $50,000 per day
ce. Refusal to provide proper dental care while
Incarcerated. $50,000 per day
dd. Forced giving of body fluids $ 5,000,000 per day
ec, Forced injections/inoculations, vaccines $ 5,000,000 per day
ff. Forced separation from marriage contract $ 160,000 per day
gg. Confiscation/kidnapping of a body not a US
Citizen $ 1,600,000 per day
bh. Corporate State continuing a mortgage for more
than five years in violation of Banking Act of1864
which takes precedence over current Statutes at large  $ 1,600,000 per day
il. Attempted extortion of funds from birth certificate
account, Social security account or any other associated
accounts by fraud, deception and/or Forgery by any agent,
entity or corporation $ 6,000,000 per count or charge
ji. Attempted extortion of signature $ 6,000,000 per count or charge
kk. Attempted forgery of signature $ 6,000,000 per count or charge

*Per Occurrence and Includes any Third Party Defendant

** All claims are stated in US Dollars which means that a US Dollar will be defined, for this purpose as a

One Ounce Silver Coin of .999 pure silver or the equivalent par value as established by law or the exchange rate, as
set by the US Mint, whichever is the higher amount, for a certified One Ounce Silver Coin (US Silver Dollar) at the
time of the first day of default as set forth herein; if the claim is to be paid in Federal Reserve Notes, Federal
Reserve Notes will only be assessed at Par Value as indicated above.

Total damages will be assessed as the total amount of the damages as set forth herein times three (3) for a

total of all damages as set forth in subsections a-w added to three (3) times the damages for punitive or other
additional damages.

Kidnapping (If an alleged officer removes free soul more than 5 feet from free soul’s

property without just cause, it IS kidnapping) $50,0000
Services to others and/or Corporation(s):
a. Studying $ 500 per hour
while under threat, duress, coercion $ 75,000 per hour
b. Analyzing $500 per hour
while under threat, duress, coercion $ 75,000 per hour
C. Research $ 500 per hour
while under threat, duress, coercion $ 75,000 per hour
d. Preparing Documents $ 500 per hour
while under threat, duress, coercion $ 75,000 per hour
e. Answering Questions $ 500 per hour
while under threat, duress, coercion $ 75,000 per hour
f. Providing Information $ 500 per hour

while under threat, duress, coercion

If invoiced, payment is due 15 days after receipt date.
Make all payments to: Richard Louis Sposato, c/o 510 N. Orchard Rd., Solvay, New York [13209]

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$ 75,000 per hour
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 99 of 139

EXHIBIT 30.20
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 100 of 139

NOTICE OF DEFAULT

STATE OF NEW YORK )
COUNTY OF ONONDAGA _)

Salina Town Court
c/o Paul G. Carey
201 School Rd.
Liverpool, NY 13088

Jed,

I, Richard-Louis: Sposato, beneficiary, of the Cestui que Trust RICHARD L SPOSATO and/or
RICHARD LOUIS SPOSATO, a man, having presented to you, sent 10/13/2022 via USPS
Priority Mail, tracking #9505510845132286513027, received at the stated address of your
workplace at 10:22 am on October 14, 2022, an Affidavit of Truth - Demand For Lawful
Authority and Jurisdiction. In good faith and accordance with Lawful due process, you had an
opportunity to respond within (10) ten days as lawfully accepted, which you are now in default.

Notice - Commercial processes (including said Affidavit and the required responses to it)
ARE NON-JUDICIAL and pre-judicial because:

a) No judge, court, government or any agencies thereof, or any other third parties whatsoever,
can abrogate anyone’s affidavit of truth; and

b) Only a party affected by an affidavit can speak and act for himself and is solely responsible
for responding with his/her own affidavit of truth, which no one else can do for him/her.

Your willful failure to respond within the reasonable, lawful time offered, constitutes a waiver of
your opportunity to rebut and contest the statements within said document. Furthermore, your
failure to rebut, constitutes authorization for the courts to find the facts to be as claimed.

As aresult of your acquiescence, for failure to rebut my Notice of Demand For Your Lawful
Authority, your consent is given to me for pursuance of a default judgment against you, for
damages you have caused me, outlined in my Fee Schedule listed as EXHIBIT 4 in the
aforementioned Affidavit of Truth received by you, as notice to agent is notice to principle and
notice to principal is notice to agent, as well as punitive damages, criminal charges and/or issue a
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 101 of 139

lien against you personally, for me to collect monies owed to me, pursuant to the amount stated
in the Fee Schedule.

I, Richard-Louis: Sposato, have personal knowledge of the above facts, I am competent to testify
to the above facts, and declare that the foregoing is true, correct and complete under the penalty
of perjury.

DATED: 10/27/2022

Respectfully yours, all rights reserved.

Li. suirSrnek bani
Richard-Louis: Sposato, beneficiary

Sui juris, in propria persona
c/o 510 N. Orchard Rd.
Solvay, New York [13209]
315-412-1776

Printed Names_ Yn

My Commission Expires:

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- Lic. #4660160
Notary Public-State of New York
Qualified in Onondaga County
My Commission Expires MAY 27, 2!
Case 5:23-cv- - : )
5:23 cv-00364 GTS 04/25/23 _ Page 102 of 139

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 103 of 139

_ EXHIBIT 31.10
OCTOBER 28, 2022
NOTICE BENCH TRIAL SET FOR 11/18/2022

31.10 PAUL G. CAREY
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 104 of 139

EXHIBIT 31.10
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 105 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
_ Town Judge F: 315-266-4609

October 28, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

People of the State of New York versus:

Richard L. Sposato Case No: 21100113
510 N. Orchard Road pop: 1961
Solvay, NY 13209 REF: NYSP-D
TickeiNo. Officer Statute/Section Charge Text
WATSON, MARK PL 195.05 OBS GOVT ADMN 2
Pi62D6GQTH WATSON, MARK VTL 1198 9D INTERLOCK VIOL
P162D6GQKP WATSON, MARK VTL.0511 O1A AGG UNLIC OPERS
P162D6GT83 WATSON, MARK VTL 0319 01U INSURANCE VIOL
P1i62D6GQRP WATSON, MARK VTL 0509 01 UNLIC DRIVER
P162D6GQFX WATSON, MARK VTL 0401 O1A REGISTRATN ViO
PiG2D6GNSG WATSON, MARK VTL 1172 0A STOP SIGN VIOL
P162D6GQX3 WATSON, MARK VTL 1229-C 03 SEAT BELT VIO

Next Date: 11/18/2022 Time: 09:00AM

Re: BENCH TRIAL NOTICE

The above referenced case is scheduled for a Bench Trial at the
above date and time.

The District Attorney has been notified.
Very truly yours,

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Hon. Paul 6b Carey
Town Justice
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 106 of 139

Salina Town Court
201 School Road #116

Paul G. Carey Liverpool, NY 13038

Town Judge

P: 315-457-4252
F: 315-266-4609

October 28, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

People of the State of New York versus:
Richard L. Sposato Case No: 21100126

Re: BENCH TRIAL NOTICE

510 N. Orchard Road pos: Fi9o61
Solvay, NY 13209 . REF: 21349466
TicketNo. Officer Statute/Section Charge Text
Ryan, Matt PL. 195.05 OBS GOVT ADMN 2
: Ryan, Matt PL 205.30 RESIST ARREST
SV12D8QX53_—s Ryan, Matt VTL 0511 2AA UNLIC OPERATION
SV12D8QXDG_ Ryan, Matt VTL 1198 9D INTERLOCK VIOL
SV12D8QXP9 Ryan, Matt VTL 1120 0A FAIL KEEP RIGHT
SV12D8QXGT Ryan, Matt VTL 0319 01U INSURANCE VIOL
SV12D8QXZL Ryan, Matt VTL 1102 FAIL COMP ORDER
SV12D8QXK7 ——- Ryan, Matt VTL 1180 0D Speeding 40/30
SV12D8QXFV Ryan, Matt VTL 0401 01A REGISTRATN VIO
SV12D8QXM3 Ryan, Matt VTL 1163 0B TURN SIGNAL VIO
SV12D8QXJ6 ~—- Ryan, Matt VTL 0306 B. NO INSP CERT
SV12D8QXSJ Ryan, Matt VTL 0375 2A1 VIOL-LIGHTS
Next Date: 11/18/2022 Time: 09:00AM

The above referenced case is scheduled for a Bench Trial at the
above date and time.

The District Attorney has been notified.

Very truly yours,

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Sh MAILS

Hon. Paul G. Carey
Town Justice
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 107 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F: 315-266-4609

October 28, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

People of the State of New York versus:

Richard L. Sposato Case a Sica
510 N. Orchard Road DOB: 1961

Solvay, NY 13209

TicketNo Officer Statute/Section Charge Text

3552F7TFSH Lynch, B VTL 0511 02A2 UNLIC OPERATION
3552F7TGBT Lynch, B VTL 1163 0D TURN SIGNAL VIO
3552F7TGLS Lynch, B VTL 1163 0A TURN SIGNAL VIO
3552F7TG8G Lynch, B VTL 0401 O1A REGISTRATN VIO
3552F7TG69 ~— Lynch, B VTL 0306.B NO INSP CERT
3552F7TGPF Lynch, B VTL 1172 0A STOP SIGN VIOL
3552F7TGGN Lynch, B VTL 1163 OD TURN SIGNAL VIO

Next Date: 11/48/2022 Time: 09:00AM
Re: BENCH TRIAL NOTICE

The above referenced case is scheduled for a Bench Trial at the
above date and time.

The District Attorney has been notified.

Very ruly yours’
Vouk 4 (iii

et
Hon. Paul G. Carey
Town Justice
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 108 of 139

EXHIBITS 32.10 & 32.20

OCTOBER 31, 2022 & NOVEMBER 14, 2022

AFFIDAVIT BENCH TRIAL NOT ACCEPTED, NOTICE
ALL CHARGES VOID, NOTICE OF FEE SCHEDULE,

NOTICE OF DEFAULT

32.10 PAUL G. CAREY & JED HUDSON ADA
30.20 PAUL G. CAREY & JED HUDSON ADA
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 109 of 139

EXHIBIT 32.10
|
ul
Wear Paul & Jed,

Case 5:23-cv-00364-GTS-MJK Document.7-8 Filed 04/25/23 Page 110 of 139

NOTICE: AFFIDAVIT OF TRUTH
BENCH TRIAL OFFER NOT ACCEPTED
ALL CHARGES VOID FOR LACK OF JURISDICTION

NOTICE OF FEE SCHEDULE
1G.c carne it
Ib Stone _ fa ea
verpool, NY 13088 act 31 2022

NOTICE TO AGENT IS NOTICE TO PRINCIPAL
NOTICE TO PRINCIPAL IS NOTICE TO AGENT

‘ti Richard-Louis: Sposato, a man, of competent mind, beneficiary and Grantor, of the Cestui que Trust,

i
|
ih

“EE
ee eT EES

Hot the trust, number 058627925, titled RICHARD L SPOSATO and/or RICHARD LOUIS SPOSATO,
i hereby proclaim;

That, I did not waive my rights to a trial by j jury, I do not authorize a bench trial, your offer is vehemently
rejected. (see Attachment 1) ©

]

That, as stated previously in court, which i is now on the record, if a trial is deemed proper, a trial by
jury is demanded.

4 That, no proof of jurisdiction has been put upon the record, establishing jurisdiction of this court to proceed

with regards to me, a man.

That, based on the FACTS of these frivolous cases, enumerated i in your BENCH TRIAL NOTICE's, ALL

i charges are necessarily VOID, ab initio.

That, you, Paul G. Carey, have no jurisdiction with regards to me, Richard-Louis: Sposato, a.k.a. Richard L.
Sposato.

That, you Paul G. Carey have violated me, including, but not limited to my Right to Due Process, Conspiracy,
Extortion, Mail Fraud, Securities Fraud, etc..., thus have damaged me.

That, this gives notice of my FEE SCHEDULE, which is subject to change without notice. (see Attachment 2)

Notice: Bench Trial Offer Not Accepted, All Charges Void Page 1
ae Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 111 of 139

£

SSE

i That, due to this courts lack of jurisdiction, all charges are VOID, by law, thus, I am not required, by law, to
show up to your unlawful BENCH TRIAL, supposedly set for November 18, 2022 at 9:00 am.

DO ee

Fpilure for the above named to respond and rebut these claims, within three (3) days receipt of this Notice, unless
uptified of needing more time, which will be reasonably granted, having the opportunity to rebut the stated claims

herein, by acquiescence, will allow for the above claims of facts to be, as stated.

Richard-Louis: Sposato, a man, of competent mind, beneficiary of the aforementioned Cestui que Trust, Sui
Juris, does declare that I have scribed and read the foregoing facts, and in accordance with the best of my
EH sthand knowledge, such are true, correct, complete and not misleading, the truth, the whole truth and nothing
bat the truth, before God and everybody who reads this document as witnesses, pursuant to your rules of

svidence.

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pata Bie te RSE

ated: 10/31/2022 .

Respectfully yours, All Rights Reserved

c/o 510 N, Orchard Rd.
Solvay, New York [13209]
315-412-1776

Lect Brrelly Wha Le

Sy : :

/ inted Name: Brel i Lshit BRADLEY WHIPPLE

| ue : { | fed ep be NOTARY PUBLIC STATE OF NEW YORK
jate: 104 31 [2022 LIC. #01 WH6386008

i ty Commission ‘Expires: O uf 2 2/ 262.3. COMM: EXP. 01/22/ 2a 2S

Notice: Bench Trial Offer Not Accepted, All Charges Void Page 2

Page 112 of 139

Filed 04/25/23

ry Case 5:23-cv-00364-GTS-MJK — Document 7-8

ATTACHMENT 1

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088
Town Judge Oe
‘October 28, 2022

OCT 31 2022 |

Richard Lb. Sposato
' $10 N: Orchard Road

Solvay, N¥ 13209.

People of the State of New York versus:

Page 113 of 139

P: 315-457-4252
F: 315-266-4609

xt Date: 11/16/2022 Sy :00AN ye o

Very Le yours aS *

Hon. vaur Gs carey
Town Justice

Richard L. Sposato . Case Via. 100113

510 N, Orchard Road DOB: 1961

Solvay, NY 13209 Ve VUSP-D
Statute/Secti zharge Text .

- , PL 195.05 OBS GOVT ADMN 2
‘P162D6GQTH * WTL11989D ¢\; INTERLOCK VIOL ~
P162D6GQK® RA VTL 0511 OA AGG UNLIC OPER3
P41 26GTs3 MARK VTL 0319,0 INSURANCE VIOL

62D R pay VTL BORO UNLIC DRIVER -
i /MA VTL Q484 O1A SISTF v at
VTL 11¥2°0A efor SIG
WTL 1229-C 03 at B
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Next Date{1/1/2 22 se “hs

; Re: BENCH “CO ye

i The above _W. ‘is vide leg a Bench. Trial at the
Ht above date and tim

Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 114 of 139

Salina Town Court

201 School Road #116
Paul G. Carey Liverpool, NY 13088 _ P: 315-457-4252
Town Judge F; 315-266-4609
October 28, 2022 a ei AR cease
Richard L. Sposato OCT 3 31 2022

Va 510 N. Orchard Road
Solvay, NY 13209

People of the State of New York versus:
Richard L. Sposato Case 100126
510 N. Orchard Road : 1961
Solvay,. N¥Y 13209 349466
TicketNo. Officer Statute/Section L\ Charge Text

Ryan, Matt PL 195.05 i\ OBS GOVT ADMN:2

Ryan, Matt PL 205.30 _(, \RE6IST ARREST
SV12D8QX53 Rye (a VTL 054 AQ LIC ORERATION
SV12D8QXDG Ryan \ifatt} VTL 1198 INTERLOCKYIOL
SV ODBOXGT. Ryan, Me vg 004 Nee

VTL 9819 0 A SURA SE VIOL. NY
VT Re Og FAIL GCP ORDER

VTLA180 OD Speeditg 40/30
ep 101A es No’
vi ee Pa
3068 -
a :

The District Attorney has been notified.

‘Very trply yours,

. a fF»
Ae Largs

Hon. Paul G. Carey

- Town Justice
tie

Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 115 of 139

Salina Town Court
201 School Road #116
|i: Paul G.-Carey Liverpool, NY 15088 P: 315-457-4252
|, Town Judge: Bate Se F: 315-266-4609
|| October 28, 2022 ~~ oct 342022

Richard L. Sposato
610 N. Orchard Road
Solvay, NY 13209

People of the State of New York vergu

Richard.L. Sposato @ No: 22050031
510 N. Orchard Road op: P1962
Solvay, NY 13209

Nt 3852F7TFSH Tyne

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Ji] 3852F7TGLS une
‘3552F7TG8GP Lyne

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i above date ari “me.
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The District Attorney has been \Wotified.

“at pe your
i Hon. paul’ l Carey
4. Town Justice

Filed 04/25/23 Page 116 of 139
ATTACHMENT 2

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BRA a
OCT 31 2022

* Case 5:23-cv-00364-GTS-MJK Document 7-8

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- Case 5:23-cev-00364-GTS-MJK - Document 7-8 Filed 04/25/23 Page 117 of 139

NOTICE OF INTENT - FEE SCHEDULE

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“OCT 312022
To Whom It May Concern:

Secured. Party Creditor, Richard Louis Sposato, Authorized Representative on behalf of
RICHARD SPOSATO, RICHARD L SPOSATO, Richard L. Sposato and RICHARD LOUIS
SPOSATO, Ens Legis. I, Richard Louis Sposato, do hereby set forth fees to be instated in any
business dealing with RICHARD SPOSATO, RICHARD L. SPOSATO, Richard L Sposato and-
RICHARD LOUIS SPOSATO, for any business conducted relevant to this schedule. Fees are
due and MUST be paid before said business can commence. In the event that invoicing becomes
necessary, invoiced amounts are due fifteen days after day of receipt. If said fees are not moet, it
is the right of the Secured Party Creditor, Richard Louis Sposato, to refuse or void any form of ©

The annexed Notice of Intent — Fee Schedule is a schedule of mandatory fees instated by the

4j| _ business interaction and/or transaction. Fees are subject to change at any time without prior
i). notice. Secured Party Creditor, Richard Louis Sposato ©, is the only Authorized Representative
i} to alter, void, and/or enforce said fees and may do so at any time.

All I Reserved, oO

Richard-Louis: Spogato, beneficiary, sué juris
Secured Party Lien Creditor, Authorized Representative for
RICHARD LOUIS SPOSATO, Ens Legis |
Without Prejudice:

Witness and Acknowledgement

‘New York State

Onondaga County

, A living man affirmed before me, a Recording Secretary/Notary, on this Id day of
1) October, 2022, that Richard Louis Sposato, personally appeared and known to me to be the
\, woman whose name is referenced within the instrument and acknowledged to be the same.

Sioned yr Ce Vom _ GREGORY C VIRGINIA

NOTARY PUBLIC STATE OF NEW YORK

Pri ~ ‘ ONONDAGA

Printed Name: Bp ty Cc. Vie Als LONG

Date: _|Q} Ip / a) i COMM. EXP. Mar. 19, 2023
. * t

My Commission Expires: 3) 4 pws

Page1/5
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 118 of 139

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Private Easements Schedule Lo
Penalty for Private Use $250,000 u~- oct 3 | 2027

‘Public Easements Schedule
/ Penalty for Public Use $250,000

These fees will be mandated upon the informant listed on the traffic citation ticket(s), arrest warrants,
detention orders, seizure orders.

Produce trade name materials:

a. Name - $50,000
4b. Drivers License Number $50,000
i§ ¢. Social Security Number . "$100,000 .
i; d. Retinal Scans ~ $5,000,000
e. Fingerprinting oo $200,000
At f. Photographing $ 200,000
_g. DNA .. . Le ce . $5,000,000
1. Mouth swab . .  $ 5,000,000 -
2. Blood samples $ 5,000,000 —
3. Urine samples $5,000,000
4. Breathalyzer testing | $ 5,000,000
5. Hair samples $ 5,000,000.
6. Skin samples * $5,000, 000
7. Clothing samples $ 5,000,000
8. Forced giving of fluids/samples $ 5,000,000

Issue Traffic citations and tickets of any traffic nature:
a. Citations $60,000
ab. Warning issued on Paper Ticket oo. $25,000

Appearance in court because of traffic citations:
a. Time in court $75,000/hr with t hour min.
b. If Fine is imposed $ 500,000

Car / Personal Property Trespass,.Carjacking, Theft, Interference with Commerce,

Page2/5

a. Agency by Estoppel $50,000
Hf b. Color of Law $150,000
c. Implied Color of Law $150,000... |
il d. Criminal Coercion $500,000
fe. Criminal Contempt of court $ 500,000
f. Estoppel by Election $ 350,000
g. Estoppel by Laches $ 350,000 _
h. Equitable Estoppel $ 500,000
i. Fraud $ 1,000,000
"j. Fraud upon the court $ 2,000,000:
k. Larceny $ 250,000
1. Grand Larceny $250,000
i. m. Larceny by Extortion $ 1,000,000
n. Larceny by Trick $ 1,000,000
o. Obstruction of Justice $ 100,000 ©
p. Obtaining Property by False Pretenses $ 1,000,000
Case 5:23-cv-00364-GTS-MJK Document 7-8 ‘Filed 04/25/23 Page 119 of 139

4

q. Simulating Legal Process $ 1,000,000

Time Usage for traffic ‘stops:

_t. Vexatious Litigation $5,000,000 ai eceeg tahoe
s. Trespass upon Motor Conveyance $100,000 Bae a
t. Unauthorized Relocation of Motor Conveyance $100,000 072
u. Seizure of Motor Conveyance $100,000 acl 30
v. Theft of License Plate $ 10,000
w. Unlawful Lien on Motor Conveyance $ 50,000
Use of trade name protected material under threat, duress, and/ or coercion:

a. Name written by the informant $250,000
b. Drivers License written by informant $ 150;000
c, Social Security Number written by informant $ 150;000 -
d. Miscellaneous Material written by informant $ 500,000:
: Produce any personal information/property for any kind of. business interaction:

a. Financial Information $ 100,000

b. Property inside of motor vehicle $ 150,000

a. 30 minutes $ 5,000/30 minutes min
b. 60 minutes $ 10,000
c. 90 minutes $ 15,000

Court Appearance Schedule .
These fees MUST be paid immediately after my case is finished. Failure to pay fines and fees will have |
an additional fee of $5000.00 for breach of contract.

Demand for Appearance in court:
1. My Appearance
$ 75,000/hour

a. under protest and duress:
b. Voluntarily $ 10,000/hour
Use of trade name material
1. Name ,
, oa, under protest and duress: * $25,000..
b.-- _ -Voluntarily $ 10,000
2. - Drivers License
a. . _ under protest and duress: ‘$ 25,000
b. Voluntarily $10,000
3. Social Security Number .
a. under protest and duress: $25,000
b. Voluntarily $ 10,000
c. Miscellaneous Material $ 25,000
4. Produce any personal information for any kind of business interaction:
a. Financial Information $ 10,000
b. Drivers License $ 10,000
c. Social Security Number $ 250,000
d.

Any documents produced by me $ 10,000 per document :

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Case 5:23-Cv-00364-GTS-MJK Document 7-8

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Time usage for court appearances:

1.

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Page4/s

30 minutes

a. Under Protest and Duress
b. Voluntarily

60 minutes

a. _- Under Protest and Duress
d. Voluntarily

90 minutes or more

a. _—~ Under Protest and Duress
b. Voluntarily

Trespass-Fee Schedule

Ht. Trespass by public official(s),.police officer(s), judge(s), attorney(s), Corporation(s)and other fictional
- entities

as well as all others who desire to contract:

Failure to honor God Given Rights

Failure to honor Oath of Office

Failure to honor Constitutional Oath

Failure to honor Written and/or Oral Word
Silence/Dishonor/Default

Failure-to honor /No Bond

Phone call to telephone number used by Secured
Party including from alleged debt collectors -
Telephone message left on Secured Party phone
Service or equipment

Filed 04/25/23

vo Qey 91 2022
$ 33,500
$ 10,000

$ 75,000
$ 20,000

$ 100,500
$ 30,000

$20,000
$50,000
$50,000
$5,000

$ 5,000
$ 5,000

$5,000cach

$ 5,000 each

Use of Street Address/Mailing location of Secured Party $ 5,000 each .

Time Waiting for Scheduled Service

Detention from Free Movement and/or cuffed —
Incarceration

Failure to Follow Federal and/or State Statutes,
Codes, Rules and/or Regulations

Failure to State a Claim upon which

Relief Can Be Granted

Failure to Present a Living Injured Party __
Failure to Provide Contract Signed by the Parties
Failure to Provide IRS 1099OID(s), and Other .
IRS Reporting.Form(s) Requirements upon Request
Default By Non Response or Incomplete Response
Fraud

Racketeering

Theft of Public Funds

Dishonor in Commerce

Failure to pay Counterclaim in full within (30) Thirty
Calendar Days of Default as set forth herein
Perverting of Justice Judgment

Use of Common-law Trade-name/Trade-mark

After One Warning (per each occurrence)

Forcing psychiatric evaluations

Refusal to provide adequate and proper nutrition
while incarcerated

$ 1,000 Minimum or per hour
$75,000 Minimum or per hour
$ 75,000 Minimum or per hour

$ 50,000
$25,0000

$100,000
$100,000*

_ $100,000*

$100,000*-
$1,000,000*
$1,000,000*

* $1,000,000*
~ $1,000,000*

$1,000,000**
$ 1,000,000*

$50,000 Each
$ 500,000 per day

$ 50,000 per day

Page 120 of 139 .
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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 121 o0f 139 .

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bb. —_ Refusal to provide proper exercise while
Incarcerated $50,000 per day
cc. Refusal to provide proper dental care while tae ocr 3 31 2027
Incarcerated a a $50,000 per day
dd. Forced giving of body fluids $ 5,000,000 per day
ee. Forced injections/inoculations, vaccines __. $5,000,000 per day ©
ff. Forced separation from marriage contract $ 160,000. per day
gg. Confiscation/kidnapping of a body nota US
“Citizen $ 1,600,000 per day
hh. Corporate State continuing a mortgage for more

than five years in violation of Banking Act of1864

which takes precedence over current Statutes at large $ 1,600,000 per day
ii. ~- Attempted extortion of funds from birth certificate ~

account, Social security account or any other associated

accounts by fraud, deception and/or Forgery by any agent,

entity or corporation $ 6,000,000 per count or charge
‘ij Attempted extortion of signature - $ 6,000,000: per count or charge
kk. Attempted forgery of signature $ 6,000,000 per count or charge ~

*Per Occurrence and Includes any Third Party Defendant

** All claims are stated in US Dollars which means that a US Dollar will be defined, for this purpose as a

One Ounce Silver Coin of .999 pure silver or the equivalent par value as established by law. or the exchange rate, as
set by the US Mint, whichever is the higher amount, for a certified One Ounce Silver Coin (US Silver. Dollar) at the
time of the first day of default as set forth herein; if the claim is to be paid in Federal Reserve Notes, Federal
Reserve Notes will only be assessed at-Par Value as indicated above.

Total damages will be assessed as the total amount of the damages as set forth herein. times three (3) for a
total of all damages as-set forth i in subsections a-w added to three (3) times the damages for punitive or other
additional damages.

Kidnapping (If an alleged officer removes free soul more than 5 feet from free soul’s

iP property, without just cause, it IS kidnapping) $50,0600 |

Services to others and/or Corporation(s):
a, Studying $ 500 per hour
while under threat, duress, coercion $ 75,000 per hour
b. Analyzing $500 per hour
- while under threat, duress, coercion $ 75,000 per hour
C. Research $ 500 per hour
_ while under threat, duress, coercion $ 75,000 per hour
d. Preparing Documents $ 500 per hour
while under threat, duress, coercion $ 75,000 per hour .
€. Answering Questions $ 500 per hour -
_ while under threat, duress, coercion $ 75,000 per hour -
f, Providing Information $ 500 per hour
while under threat, duress, coercion

If invoiced, payment is due 15 days after receipt date.

Make all payments to: Richard Louis Sposato, c/o 510 N. Orchard Rd., Solvay, N New York [13209]

Pages/5

$ 75,000 per hour
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 122 of 139

EXHIBIT 32.20
Case 5:23-cv-00364-GTS-MJK Document 7-8 — Filed 04/25/23 Page 123 of 139

NOTICE OF DEFAULT

REGENVED
STATE OF NEW YORK. ) HON. PAUL G. GAREY

HOY, 14 F922
COUNTY OF ONONDAGA. )

Salina Town Court
c/o Paul G. Carey
201 School Rd.
Liverpool, NY 13088

Onondaga County District Attorney
ADA Jed Hudson

505 S. State St.

Syracuse, NY 13202

NOTICE TO PRINCIPAL IS NOTICE TO AGENT
NOTICE TO AGENT IS NOTICE TO PRINCIPAL

Paul G. Carey & Jed Hudson,

I, Richard-Louis: Sposato, beneficiary, of the Cestui que Trust RICHARD L SPOSATO and/or
RICHARD LOUIS SPOSATO, a man, having properly presented to you, filed with the court
clerk on 10/31/22 an Affidavit of Truth - Bench Trial Offer Not Accepted - All Charges Void
For Lack Of Jurisdiction - Notice Of Fee Schedule, in good faith and accordance with Lawful
due process, you had an opportunity to respond within (3) three days as lawfully accepted, which
you are now in default.

Notice - Commercial processes (including said Affidavit and the required responses to it)
ARE NON-JUDICIAL and pre-judicial because:

a) No judge, court, government or any agencies thereof, or any other third parties whatsoever,
can abrogate anyone’s affidavit of truth; and

b) Only a party affected by an affidavit can speak and act for himself and is solely responsible
for responding with his/her own affidavit of truth, which no one else can do for him/her.

c) "Truth is expressed in the form of an affidavit", "An unrebutted affidavit stands as truth in
commerce", "An unrebutted affidavit becomes the Judgment in commerce", "Nihil possumus
contra veritatem: We can do nothing against the truth, Doct. & Stu. Dial. 2, c. 6".
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 124 of 139

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Your willful failure to respond within a reasonable, accepted lawful time, constitutes a waiver of
your opportunity to rebut and contest the statements within said document. Furthermore, your
failure to rebut, constitutes authorization for the courts to find the facts to be as presented.

Further, as a result of your acquiescence, for failure to rebut my Affidavit of Truth - Bench Trial
Offer Not Accepted - All Charges Void For Lack Of Jurisdiction - Notice Of Fee Schedule, your
consent is given to me for pursuance of a default judgment against you, for civil damages you
have caused me, as well as punitive damages, criminal charges and/or issue a lien against you
personally, for me to collect monies owed to me, pursuant to the amount stated in the Notice Of
Liability filed with the Town of Salina and/or any other Notices of Claim, or Liability For
Damages, subject to change without notice.

I, Richard-Louis: Sposato, have personal knowledge of the above facts, I am competent to testify
to the above facts, and declare that the foregoing is true, correct and complete under the penalty

of perjury.

All Rights Reserved.

DATED: 11/14/2022

Respectfully yours, without prejudice

[Wifes Siac big

Richard: Louis: Sposato, beneficiary
Sui juris, in propria persona

c/o 510 N. Orchard Rd.

Solvay, New York [13209]
315-412-1776

Signed: Balle, (steep te

BRADLEY WHIPPLE
Printed Name: #3 reel, Ushigole NOTARY PUBLIC STATE OF NEW YORK
leg | 2 ONONDAGA
Date: 9 | i 2NZ LIC. #01WH6386008

COMM. EXP. 01/22 7 p
My Comrhission Expires: 01/22 2023 (2225

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 125 of 139

EXHIBITS 34.10 - 34.11

DECEMBER 10 & DECEMBER 16, 2022

SOLVAY POLICE DA HOLD ON PROPERTY SHEET
ONONDAGA COUNTY DA PROPERTY RELEASE FORM

34.10 SOLVAY POLICE DEPARTMENT
34.11 JEFFREY D. ALBERT
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 126 of 139

EXHIBIT 34.10
Case 5:23-cv-00364-GTS-MJK Document-48 Filed 04/25/23 Page 127 of 139

SOLVAY POLICE DEPARTMENT

INVENTORY REPORT - VEHICLE IMPOUND / STORAGE, ORI - NY0332600

LOCATION CODE - 3426

Release Status: HOLD FOR POLICE / DA RELEASE **

DATE TIME LOCATION DR#
12/10/2022 18:45 Hrs. | 100 BLK MYRTLE 22-600830
YEAR MAKE MODEL STYLE COLOR
2008 HONDA ACCORD 4DS8D MAROON
STATE PLATE # VINE EXPIRATION
NY LHGCP36808A012521 / 120
REGISTERED OWNER TOW COMPANY
NAME: SPOSATO, RICHARD Advanced Recovery of NY (315) 478-7376
ADDRESS: 510 N. ORCHARD ROAD
SOLVAY, NY 13209
R/O NOTIFIED: (] YES [JNO *

YES.|..NO-| . -¥ES | NO |+ - YES | NO YES | NO -

C .| WRECKED ( | BATTERY a | C |amemrapio!] (] ; ( | Mirrors¢

CJ | & | BURNED L} | HEAD/TAIL LIGHTS Cl | |epprayer:| © | (1 | sparerire

X | 2 | ENGINE [] | & | BENG PTs MISSING C] |) | auxsnpsys} 1 | £1 [carJuace

& | C1 | TRANSMISSION C | & | Bpv pts missine Cl | C] | TAPES/CD's L] | WINDSHIELD

Oo MANUAL & | C] | FRONT BUMPER CO | (1 | WHEELS# 4 | (J | & | BKNwinpows

& | € | AUTOMATIC [] | REAR BUMPER (1) | |tTrres# 4 Cli & CHILD SEAT #

| S | Cl | Keys w/vex O | & | toons O | 0 | Hupcaps

OTHER PROPERTYATEMS:

Documents on passenger seat.

NARRATIVE:

Driver arrested for forged affixed plates. (PRIV4T3). Vehicle unregisted/nsured/nspected. Driver AUO2nd and has no
interlock device m vehicle per requirements.

REPORTING OFFICER SHIELD SUPERVISOR SIGNATURE DATE
as COPIES TO: VEH OPERATOR/ TOW OPERATOR / CASE FOLDER

*. OK to release - The tow company mayrelease the vehicle to the tegistered owner listed above provided they have a valid drivers license or bring a third party to operate
© Me™ WIGeC a Party to op
the vehicle that has'a valid drivers license. The vehicle must also have a valid registration and insurance to be released OR it must be towed from the Ict.

** . Hold for Police/DA release - The vehicle is being HELD for investigative purposes or was used in a crime and the tow company MUST hold the vehicle until it's relegse
is approved by the Solvay Police Department and/or the Onondaga County District Attorney's Office. Tow company must obtain approval
from the Solvay Police Department prior to releasing the vehicle.
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 128 of 139

EXHIBIT 34.11
ent 7-8 . Filed 04/25/23 Page 129 of 139

APPLICATION. FOR RELEASE ‘OF PROPERTY

Section-: IF YOU ARE ine PROPERTY ‘a ey deel lr) COMPLETE’ SECTION LAND: SIGNE -OW UNDER “APFIRMED UNDER PENALTY OF PERJURY"
ASRS SURGES OSSRRS REISESS OTT OpeNY: ‘ch, cet 5: Soasar

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‘Sacon oe ‘ . ‘
NOTE> IF YOU ARE NOTTHE OWNER BUT-HAVE BEEN CHOSEN By THE PROPERTY GWNER TO RECOVER’ HISIHER: PROPERTY, YOu MUSTOBTAIN THE
‘SIGNATURE OE THE = PROPERTY. WNER. IN THE SPACI BELO AND YOU MUST SIGN BELOW UNDER “AFFIRM UNOER PENALTY OF PERJURY" THAT YOU,

ccogetens

women

RECOVER HISHER PROPERTY. — - "Bi RK

HIE NO

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iSenae)
False Statements made herein are punishable as a Class AMisdemeanor pursuant to New York State Penal Law. Section 210.43,

FOR DISTRICT ‘ATTORNEY'S. OFFICE USE: ONLY **
ASSISTANT DISTRICT ATTORNEY MUST COMPLETE SECTION Ili OF THIS APPLICATION

Section Ill: .
case ort: 22 -GOLNSSE> —_PERSON(S) ASSOCIATED: Richan of Sposat OQ

RELEASED CLEARED BY LAW & APPEALS BUREAU: : RELEASED: APPROVED? _ RELEASE NOT APPROVED.

COMMENTS: "7.
Special Instructions. to! Police Agency: Pr sto Release: ,
() Photograph Propeity “C) ust Seiial # of Prope Property (If any). ( }Other_— ce

Date: ASSISTANT ee OOD, Dee. A ee 7
LS f ~

A Onc J

ASSISTANT DISTRICT ATTORNEY (Signature):
** DISTRICT. APFORNEY'S "S OFFICE = OFFICIAL. STAMP MUST APPEAR BELOW**

Rev. 12/20

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 130 of 139

EXHIBITS 33.10

DECEMBER 1, 2022 -

CONTINUED UNLAWFUL COURT DATE APPEARANCE,
WITH ALL UNLALWFUL CHARGES BUNDLED

33.10 PAUL G. CAREY
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 131 of 139

EXHIBIT 33.10
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 132 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F: 315-266-4609
November 30, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

Re. Case No, Statute/Section Description: Ticket No.

21100113.01 PL 195.05 OBS GOVT ADMN 2

21100113.02 VTL 1198 9D INTERLOCK VIOL P162D6GQTH
21100113.03 VTL0511 01A AGG UNLIC OPER3 P162D6GQKP
21100113.04 VTL 0319 01U INSURANCE VIOL P162D6GT83
21100113.05 VTL 0509 01° UNLIC DRIVER P162D6GQRP
21100113.06 VTL 0401 O1A REGISTRATN VIO P162D6GQFX
21100113.07 VTL 11720A STOP SIGN VIOL P162D6GNSG
21100113.08 VTL 1229-C 03 SEAT BELT VIO P162D6GQX3

Next Date: 12/01/2022 Time: 05:00PM

Please note the above captioned matter is scheduled for Court
action on the above date and time shown.
Requests for adjournments will NOT be considered the day of

Court unless approved. by the Judge.

Very truly yours,

Town Tudgé
Case 5:23-cv-00364-GTS-MJK “Document 7-8 Filed 04/25/23 Page 133 of 139

Salina Town Court
201 School Road #116

Paul G. Carey Liverpool, NY 13088

Town Judge

P; 315-457-4252
F; 315-266-4609

November 30, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

Re. Case No, Statute/Section Description: Ticket No.
21100126.01 PL 195.05 OBS GOVT ADMN 2
21100126.02 PL 205.30 RESIST ARREST
21100126.03 VTL 0511. 2AA UNLIC OPERATION SV12D8QX53
21100126.04 VTL 1198 9D INTERLOCK VIOL SV12D8QXDG
21100126.05 VTL 1120 0A FAIL KEEP RIGHT $V42D8QXP9
21100126.06 VTL 0319 01U INSURANCE VIOL SV12D8QXGT
21100126.07 VTL 1102 FAIL COMP ORDER SV12D8QXZL
21100126,08 VTL 1180 0D Speeding 40/30 SV12D8QXK7
21100126.09 VTL0401 01A REGISTRATN VIO SV12D8QXFV
21100126.10 VTL 1163-0B TURN SIGNAL VIO SVi2D8QXM3
21100126.11 VTL0306B NO INSP CERT SV12D8QXJ6
21100126.12 VTL 0375 2A1 VIOL-LIGHTS SV12D8QXSJ

Next Date: 12/01/2022 Time: 05:00PM

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Very truly yours, _.
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Paul Gc. Cane:
Town Judge ~
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 134 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 15088 P: 315-457-4252
Town Judge F: 315-266-4609
November 30, 2022

Richard L. Sposato.
510 N. Orchard Road
Solvay, NY 13209

Re. Case No. Statute/Section__ Description: Ticket No.
22050031.01 VTL 0511:02A2 UNLIC OPERATION 3552F7TFSH
22050031.02 VTL 1163.0D TURN SIGNAL VIO 3652F7TGBT
22050031.03 VTL 1163.0A TURN SIGNAL VIO 3552F7TGLS
22050031.04 VTL 0401 01A REGISTRATN VIO 3652F7TG8G
2205003105 VTL 0306.B NO INSP CERT 3552F7TG69
22050031.06 VTL1172 0A STOP SIGN VIOL 3552F7TGPF-
22050031.07 VTL 1163 0D TURN SIGNAL VIO 3552F7TGGN

Next Date: 12/01/2022 Time: 05:00PM

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Very truly yours,
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Paul.G. Catey Gf

Town Judge
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 135 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F: 315-266-4609

November 30, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

Re. Case No. Statute/Section Description: Ticket No.
21100033.01 PL 195.05 OBS GOVT ADMN 2
21100033.02 PL 140.05 TRESPASS

Next Date: 12/01/2022 Time: 05:00PM

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Court unless approved by the Judge.

Very truly yours,
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Paul G. ‘Carey if
Town Judge

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Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 136 of 139

Salina Town Court

201 School Road #116

Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F: 315-266-4609
November 30, 2022
Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209
Re. Case No. Statute/Section Description: Ticket No.

22060131.01 PL 170.20 POS FORG INST-3

Next Date: 12/01/2022 Time: 05:00PM

Please note the above captioned matter is scheduled for Court
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Very tylly yours, .4
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Paul G. Carey
Town Judge
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 137 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F: 315-266-4609

November 30, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

Re. Case No. Statute/Section Description: Ticket No.
22060132.01 PL 215,50 03 CRIM CONTEMPT-2

Next Date: 12/01/2022 Time: 05:00PM

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Very truly yours,
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Town Judge
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23 Page 138 of 139

Salina Town Court
201 School Road #116
Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F: 315-266-4609

November 30, 2022

Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209

Re. Case No. _- Statute/Section . -- Description: . Ticket No.
22060133.01 PL 215.50 03 CRIM CONTEMPT-2

Next Date: 12/01/2022 Time: 05:00PM

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en yours,
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Paul G. Exeey Ff

Town Judge
Case 5:23-cv-00364-GTS-MJK Document 7-8 Filed 04/25/23. Page 139 of 139

Salina Town Court

201 School Road #116

Paul G. Carey Liverpool, NY 13088 P: 315-457-4252
Town Judge F; 315-266-4609
November 30, 2022
Richard L. Sposato
510 N. Orchard Road
Solvay, NY 13209
Re. Case No. Statute/Section Description: Ticket No.

22060134.01 PL 215.5003 CRIM CONTEMPT-2 .

Next Date: 12/01/2022 Time: 05:00PM

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Very truly yours,
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Paul G. Garey G
Town Judge
